Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 1 of 105




                                                      EXHIBIT “A”
                         Case 21-30589-MBK       Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                  Desc
                                                ExhibitNovember 2021receipts
                                                        A-expense    TCC Henry Page
                                                                               Expenses
                                                                                     2 of 105

Name                      Role                                      Date Expense Details                          Expense Cost

                                                             11/2/2021 to   Flight to Charlotte, NC then flight
Christopher Tisi, Esq.    Representative of TCC Member         11/6/2021    from Charlotte, NC to home                       $530.91
                                                             11/2/2021 to   Hotel Stay during NC Bankruptcy
Christopher Tisi, Esq.    Representative of TCC Member         11/6/2021    Proceedings                                    $1,312.70
                                                             11/2/2021 to
Christopher Tisi, Esq.    Representative of TCC Member         11/6/2021    Meals                                                $98.27
                                                                            Transportation from Airport to
Christopher Tisi, Esq.    Representative of TCC Member         11/2/2021    Hotel                                                $35.92
                                                                            Transportation from Hotel to
Christopher Tisi, Esq.    Representative of TCC Member         11/6/2021    Airport                                              $24.99
                                                                            Transportation from Hotel to
Christopher Tisi, Esq.    Representative of TCC Member        11/11/2021    Court House                                          $22.10
                                                             11/8/2021 to   Hotel Stay during NC Bankruptcy
Christopher Tisi, Esq.    Representative of TCC Member        11/11/2021    Proceedings                                      $961.18
                                                             11/8/2021 to
Christopher Tisi, Esq.    Representative of TCC Member        11/11/2021    Meals                                                $14.41
                                                            11/15/2021 to   Flight to New York, NY then
Christopher Tisi, Esq.    Representative of TCC Member        11/18/2021    Home                                             $458.40
                                                            11/15/2021 to   Hotel Stay during a Meeting of
Christopher Tisi, Esq.    Representative of TCC Member        11/18/2021    Counsel in New York                              $452.29

Christopher Tisi, Esq.    Representative of TCC Member        11/15/2021 Transportation in New York, NY                      $129.00


                                                                            Total                                          $4,040.17
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 3 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 4 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 5 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 6 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 7 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 8 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 9 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 10 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 11 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 12 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 13 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 14 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 15 of 105
1/31/22, 3:40Case
              PM      21-30589-MBK          Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                              Desc
                                           Exhibit A-expense receipts Page 16 of 105
eTicket Itinerary and Receipt for Confirmation JZVY6N

  United Airlines, Inc. <Receipts@united.com>
  Sat 11/13/2021 12:52 PM

  Deleted Items

  To: Chris   Tisi <ctisi@levinlaw.com>;




                                                        CAUTION: This email message is EXTERNAL.


      United Airlines                                                                                          Sat, Nov 13, 2021


   Thank you for choosing United.
   A receipt of your purchase is shown below. Please retain this email receipt for your records.

   Note: There are travel restrictions in place due to the coronavirus. Check our Important notices page
   for the latest updates

   Get ready for your trip: Visit the Travel-Ready Center, your one-stop digital assistant, to find out
   about important travel requirements specific to your trip.

   Confirmation Number:

   JZVY6N
     Flight 1 of 4 UA1767                                                                          Class: United Economy (W)

     Mon, Nov 15, 2021                                                                                             Mon, Nov 15, 2021


     07:00 AM                                                                                                08:42 AM
     Jackson Hole, WY, US (JAC)                                                                                 Denver, CO, US (DEN)



     Flight 2 of 4 UA1729                                                                          Class: United Economy (W)

     Mon, Nov 15, 2021                                                                                             Mon, Nov 15, 2021


     10:00 AM                                                                                                03:43 PM
     Denver, CO, US (DEN)                                                                              New York/Newark, NJ, US (EWR)



     Flight 3 of 4 UA1177                                                                          Class: United Economy (T)

     Thu, Nov 18, 2021                                                                                             Thu, Nov 18, 2021


https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                  1/6
1/31/22, 3:40Case
              PM    21-30589-MBK            Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                             Desc
                                           Exhibit A-expense receipts Page 17 of 105
     03:30 PM                                                                                              05:57 PM
     New York/Newark, NJ, US (EWR)                                                                            Denver, CO, US (DEN)



     Flight 4 of 4 UA745                                                                       Class: United Economy (T)

     Thu, Nov 18, 2021                                                                                            Thu, Nov 18, 2021


     07:05 PM                                                                                              08:35 PM
     Denver, CO, US (DEN)                                                                               Jackson Hole, WY, US (JAC)



     Traveler Details

     TISI/CHRISTOPHERVMR
     eTicket number: 0162378678249                                                                    Seats: JAC-DEN -----
     Frequent Flyer: UA-XXXXX374 Premier 1K®                                                                DEN-EWR -----
                                                                                                            EWR-DEN -----
                                                                                                             DEN-JAC -----


     Purchase Summary

     Method of payment:                                                                                Visa ending in 5706
     Date of purchase:                                                                                   Sat, Nov 13, 2021

     Airfare:                                                                                                     383.26 USD
     U.S. Transportation Tax:                                                                                      28.74 USD
     U.S. Flight Segment Tax:                                                                                      17.20 USD
     September 11th Security Fee:                                                                                  11.20 USD
     U.S. Passenger Facility Charge:                                                                               18.00 USD

     Total Per Passenger:                                                                                         458.40 USD

     Total:                                                                                                   458.40 USD

  Carbon Footprint
  Your estimated carbon footprint for this trip is 0.54249 tonnes of CO2.
  You can reduce your environmental impact by participating in our CarbonChoice program which supports projects that reduce
  greenhouse gases. Learn more.

  Fare Rules
  Additional charges may apply for changes in addition to any fare rules listed.;NONREF/0VALUAFTDPT
  Cancel reservations before the scheduled departure time or TICKET HAS NO VALUE.

  MileagePlus Accrual Details

     Christophervmr Tisi

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                 2/6
1/31/22, 3:40Case
              PM    21-30589-MBK             Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14 Desc
                                                                 Mail - ctisi@levinlaw.com

     Date                            Flight
                                            Exhibit A-expense
                                               From/To
                                                              receipts       Page    18 of 105Award Miles PQP   PQF

                                                 Jackson Hole, WY, US (JAC) to
     Mon, Nov 15, 2021               1767                                                             528                   48       1
                                                 Denver, CO, US (DEN)

                                                 Denver, CO, US (DEN) to
     Mon, Nov 15, 2021               1729                                                             2079                  189      1
                                                 New York/Newark, NJ, US (EWR)

                                                 New York/Newark, NJ, US (EWR) to
     Thu, Nov 18, 2021               1177                                                             1298                  118      1
                                                 Denver, CO, US (DEN)

                                                 Denver, CO, US (DEN) to
     Thu, Nov 18, 2021               745                                                              330                   30       1
                                                 Jackson Hole, WY, US (JAC)

     MileagePlus accrual totals:                                                                      4235                  385      4

  Baggage allowance and charges for this itinerary

     Origin and destination for checked           1st bag       2nd bag          1st bag weight and             2nd bag weight and
     baggage                                      charge        charge           dimensions                     dimensions

     Mon, Nov 15, 2021
     Jackson Hole, WY, US (JAC)
                                                  0 USD         0 USD            70lbs(32kg) - 62in(157cm)      70lbs(32kg) - 62in(157cm)
     to New York/Newark, NJ, US (EWR -
     Liberty)

     Thu, Nov 18, 2021
     New York/Newark, NJ, US (EWR -
                                                  0 USD         0 USD            70lbs(32kg) - 62in(157cm)      70lbs(32kg) - 62in(157cm)
     Liberty)
     to Jackson Hole, WY, US (JAC)

  Baggage check-in must occur with United or United Express, and you must have valid MileagePlus Premier® 1K® membership at time
  of check-in to qualify for waiver of service charges for up to three checked bags (within specified size and weight limits).

  Important Information about MileagePlus Earning
      Accruals vary based on the terms and conditions of the traveler’s frequent flyer program, the traveler’s frequent flyer status and the
  itinerary selected. United MileagePlus® mileage accrual is subject to the rules of the MileagePlus program
      Once travel has started, accruals will no longer display. You can view your MileagePlus account for posted accrual
      You can earn up to 75,000 award miles per ticket. The 75,000 award miles cap may be applied to your posted flight activity in an
  order different than shown
      Accrual is only displayed for MileagePlus members who choose to accrue to their MileagePlus account.
      Our Premier Program changes January 1, 2020. If your itinerary includes travel with a scheduled departure in 2020, you may see
  our old Premier accrual metrics if 1) you booked prior to May 1, 2019 and are viewing an emailed receipt or 2) you booked prior to
  August 1, 2019 and are viewing a receipt online. The terms and conditions of Premier qualification can be found at united.com/qualify.

  eTicket Reminders
      Check-in Requirement - Bags must be checked and boarding passes obtained at least 45 minutes prior to scheduled departure.
  Baggage will not be accepted and advance seat assignments may be cancelled if this condition is not met. EXCEPTION: When
  departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver, Detroit, Fort
  Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles, Maui,
  Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
  Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
  Washington, DC (both IAD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                          3/6
1/31/22, 3:40Case
              PM    21-30589-MBK     Doc 2965-1 Filed 09/01/22                  Entered 09/01/22 12:47:14 Desc
                                                                Mail - ctisi@levinlaw.com
                                    Exhibit  A-expense      receipts        Page    19 of 105
      Boarding Requirement - Passengers must be prepared to board at the departure gate with their boarding pass at least 15 minutes
  prior to scheduled departure.
      Failure to meet the Boarding Requirements may result in cancellation of reservations, denied boarding, removal of checked
  baggage from the aircraft and loss of eligibility for denied boarding compensation.
      Bring your boarding pass or this eTicket Receipt along with photo identification to the airport.
      The FAA now restricts carry-on baggage to one bag plus one personal item (purse, briefcase, laptop computer, etc.) per passenger.
  The fare rules for your ticket may restrict your carry-on baggage allowance even further.
      For up to the minute flight information, sign-up for our Flight Status Updates or call 1-800-824-6200; in Spanish 1-800-426-5561.
      If flight segments are not flown in order, your reservation will be cancelled. Rebooking will be subject to the fare rules governing your
  ticket.
      For the most current status of your reservation, go to our Flight Status page.
      Your eTicket is non transferable and valid for 1 year from the issue date unless otherwise noted in the fare rules.
      Current policies and updates concerning Coronavirus (Covid 19) can be found at
  https://www.united.com/ual/en/us/fly/travel/notices.html .

  Data Protection Notice
  Your personal data will be processed in accordance with the applicable carrier's privacy policy and if your booking is made via a
  reservation system provider ("GDS"), with its privacy policy. These are available at http://www.iatatravelcenter.com/privacy or from the
  carrier or GDS directly. You should read this documentation, which applies to your booking and specifies, for example, how your
  personal data is collected, stored, used, disclosed and transferred

  Customer Care Contact Information
  We welcome your compliments, comments or complaints regarding United or a United travel experience. You may contact us using our
  Customer Care form

  Hazardous materials
  Federal law forbids the carriage of hazardous materials on board aircraft in your luggage or on your person. A violation can result in five
  years' imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases,
  flammable liquids and solids, oxidizers, poisons, corrosives and radioactive materials. Common examples of hazardous
  materials/dangerous goods include spare or loose lithium batteries, fireworks, strike-anywhere matches, aerosols, pesticides, bleach
  and corrosive materials. Additional information can be found on:

            united.com restricted items page
            FAA website Pack Safe page
            TSA website Prohibited Items page


  Refunds Within 24 Hours
  When you book and ticket a reservation through united.com, the United mobile app, the United Customer Contact Center, at our ticket
  counters or city ticket offices, or if you use MileagePlus® miles to book an award ticket, we will allow you to cancel the ticketed
  reservation without penalty and receive a 100 percent refund of the ticket price to the original form of payment if you cancel the
  reservation within 24 hours of purchase and if the reservation is made one week or more prior to scheduled flight departure.

  Disinsection Notice
  Certain countries require that the passenger cabins of aircraft be treated with insecticides. For additional information and a list of those
  countries, please visit the U.S. Department of Transportation's disinsection website.

  IMPORTANT CONSUMER NOTICES
  Changes/Cancellations - Most tickets, other than Basic Economy tickets or those for travel originating outside the United States, other
  than for travel between the United States and Mexico or the Caribbean, may be changed to a different itinerary, or cancelled and the

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                            4/6
1/31/22, 3:40Case
              PM    21-30589-MBK             Doc 2965-1 Filed 09/01/22                    Entered 09/01/22 12:47:14 Desc
                                                                          Mail - ctisi@levinlaw.com
                                           Exhibit   A-expense       receipts         Page    20 of 105
  value of the ticket retained so that it can be applied to a new ticket, without a change fee. Such change or cancellation must be made
  prior to the original ticketed travel date. Travelers making changes will be responsible for the fare difference if the new itinerary has a
  higher fare than the original ticketed itinerary or a credit for future travel on United if the new itinerary has a lower fare than the original
  ticketed itinerary. Unless a waiver applies, Basic Economy tickets may not be changed or cancelled and a change fee will apply for
  changes or cancellations made to tickets for travel originating outside the United States, other than for travel between the United States
  and Mexico or the Caribbean. Policies concerning your ability to make reservation changes and cancellations and any fees associated
  with such changes can be found at Important travel notices | United Airlines.


  Notice of Baggage Liability Limitations - For domestic travel between points within the United States (except for domestic portions of
  international journeys), United's liability for loss of, damage to, or delay in delivery of a customer's checked baggage is limited to $3,500
  per ticketed customer unless a higher value is declared in advance and additional charges are paid (not applicable to wheelchairs or
  other assistive devices). For such travel, United assumes no liability for high value, fragile, perishable, or otherwise excluded items;
  excess valuation may not be declared on certain types of valuable articles. Further information may be obtained from the carrier. For
  international travel governed by the Warsaw Convention (including the domestic portions of the trip), maximum liability is approximately
  640 USD per bag for checked baggage, and 400 USD per passenger for unchecked baggage. For international travel governed by the
  Montreal Convention (including the domestic portions of the trip), maximum liability is 1,288 SDRs per passenger for baggage, whether
  checked or unchecked. For baggage lost, delayed, or damaged in connection with domestic travel, United requires that customers
  provide preliminary notice within 24 hours after arrival of the flight on which the baggage was or was to be transported and submit a
  written claim within 45 days of the flight. For baggage damaged or delayed in connection with most international travel (including
  domestic portions of international journeys), the Montreal Convention and United require customers to provide carriers written notice as
  follows: (a) for damaged baggage, within seven days from the date of receipt of the damaged baggage; (b) for delayed baggage, within
  21 days from the date the baggage should have been returned to the customer. Please refer to Rule 28 of United's Contract of Carriage
  for important information relating to baggage and other limitations of liability.


  Notice of Incorporated Terms - Transportation is subject to the terms and conditions of United's Contract of Carriage, which are
  incorporated herein by reference. Incorporated terms may include, but are not limited to: 1. Limits on liability for personal injury or death
  of the customer, and for loss, damage, or delay of goods and baggage, including high value, fragile, perishable, or otherwise excluded
  items. 2. Claims restrictions, including time periods within which customers must file a claim or bring an action against the carrier. 3.
  Rights of the carrier to change terms of the contract. 4. Rules about reconfirmation of reservations, check-in times, and refusal to carry.
  5. Rights of the carrier and limits on liability for delay or failure to perform service, including schedule changes, substitution of an
  alternate air carrier or aircraft, and rerouting. The full text of United's Contract of Carriage is available at united.com or you may request
  a copy at any United ticket counter. Passengers have the right, upon request at any location where United's tickets are sold within the
  United States, to receive free of charge by mail or other delivery service the full text of United's Contract of Carriage.


  Notice of Certain Terms - If you have purchased a restricted ticket, depending on the rules applicable to the fare paid, one or more
  restrictions including, but not limited to, the following may apply to your travel: (1) the ticket may not be refundable but can be
  exchanged for a fee for another restricted fare ticket meeting all the rules/restrictions of the original ticket (including the payment of any
  difference in fares); (2) a fee may apply for changing/canceling reservations; or (3) select tickets may not be eligible for refunds or
  changes even for a fee; (4) select tickets have no residual value and cannot be applied towards the purchase of future travel; or (5)
  travel may be restricted to specific flights and/ or times and a minimum and/or maximum stay may be required. United reserves the right
  to refuse carriage to any person who has acquired a ticket in violation of any United tariffs, rules, or regulations, or in violation of any
  applicable national, federal, state, or local law, order, regulation, or ordinance. Notwithstanding the foregoing, you are entitled to a full
  refund if you cancel a ticket purchased at least a week prior to departure within 24 hours of purchase.


  Notice of Boarding Times - For Domestic flights, customers must be at the boarding gate at least 15 minutes prior to scheduled
  departure. For International flights, customers must be at the boarding gate at least 30 minutes prior to scheduled departure. The time
  limits provided by United in this Notice are minimum time requirements. Customer and baggage processing times may differ from
  airport to airport. Please visit united.com for information regarding airport-specific boarding times. It is the customer's responsibility to
  arrive at the airport with enough time to complete check-in, baggage, and security screening processes within these minimum time
https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                                5/6
1/31/22, 3:40Case
              PM    21-30589-MBK             Doc 2965-1 Filed 09/01/22                   Entered 09/01/22 12:47:14 Desc
                                                                         Mail - ctisi@levinlaw.com
                                           Exhibit  A-expense       receipts         Page    21 of 105
  limits. Please be sure to check flight information monitors for the correct boarding gate and the departure time of your flight. Failure to
  be at the boarding gate by the required time could result in the loss of your seat without compensation, regardless of whether you are
  already checked in or have a confirmed seat and boarding pass.


  ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATIONS OF LIABILITY - Passengers
  embarking upon a journey involving an ultimate destination or a stop in a country other than the
  country of departure are advised that the provisions of an international treaty (the Warsaw
  Convention, the 1999 Montreal Convention, or other treaty), as well as a carrier's own contract of
  carriage or tariff provisions, may be applicable to their entire journey, including any portion entirely
  within the countries of departure and destination. The applicable treaty governs and may limit the
  liability of carriers to passengers for death or personal injury, destruction or loss of, or damage to,
  baggage, and for delay of passengers and baggage
  Additional protection can usually be obtained by purchasing insurance from a private company. Such
  insurance is not affected by any limitation of the carrier's liability under an international treaty. For
  further information please consult your airline or insurance company representative.

  Notice - Overbooking of Flights - Airline flights may be overbooked, and there is a slight
  chance that a seat will not be available on a flight for which a person has a confirmed
  reservation. If the flight is overbooked, no one will be denied a seat until airline personnel
  first ask for volunteers willing to give up their reservation in exchange for compensation of
  the airline's choosing. If there are not enough volunteers, the airline will deny boarding to
  other persons in accordance with its particular boarding priority. With few exceptions,
  including failure to comply with the carrier's check-in deadlines, which are available upon
  request from the air carrier, persons, denied boarding involuntarily are entitled to
  compensation. The complete rules for the payment of compensation and each airline's
  boarding priorities are available at all airport ticket counters and boarding locations. Some
  airlines do not apply these consumer protections to travel from some foreign countries,
  although other consumer protections may be available. Check with your airline or your
  travel agent.


    United is a proud member of Star Alliance
Copyright © 2021 United Airlines, Inc. All Rights Reserved


E-mail Information
Please do not reply to this message using the "reply" address.
The information contained in this email is intended for the original recipient only.

View our Privacy Policy                     View our Legal Notices




https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                           6/6
            Case
11/15/21, 3:56 PM   21-30589-MBK          Doc 2965-1 Filed 09/01/22        Entered
                                                              TECK PAY | Online Receipt 09/01/22 12:47:14   Desc
                                         Exhibit A-expense receipts Page 22 of 105




                                                            TECK PAY

                                                               FOLLOW



                                                         301 A PARK AVE
                                                      EAST ORANGE, NJ 07017
                                                         +1 973-414-6212




                                           Processing Fee                           $4.00

                                           Airport Pickup                           $1.25

                                           Subsidy Teck                             $1.25


                                           {'BENOIT BERLUS'}
                                           Fare                                $98.00


                                           Subtotal                           $104.50

                                           Total Taxes                              $0.00
                                           Order total                        $104.50


                                           Total
                                           paid
                                                              $   129 00        .




                                           November 15, 2021 4:51 pm
                                           Payment ID: DF6DDH5MJGY2A
                                           Order ID: 7NRZCH4X0RX8P
                                           Order Employee: BENOIT BERLUS

                                           Payment
                                                   VISA CREDIT 5706           $129.00
                                                   Order amount               $104.50
                                                   Tip                         $24.50
                                                   Cashier: BENOIT BERLUS
                                                            Show Details

https://www.clover.com/r/7NRZCH4X0RX8P                                                                             1/2
      Case 21-30589-MBK           Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                            Desc
                                 Exhibit A-expense receipts Page 23 of 105



Four Points New York Downtown
6 Platt St
New York, NY 10038
United States
Tel: 212-273-9388


 CHRIS TISI                                                   Page Number            :    1
 PO BOX 1258                                                  Guest Number           :    352950
 WILSON, WY, 83014-1258                                       Folio ID               :    A
 United States Of America                                     No. Of Guest           :    1
                                                              Room Number            :    1803
                                                              Marriott Bonvoy Number :    1642
                                                              Arrive Date            :    15-NOV-21    17:04
                                                              Depart Date            :    18-NOV-21    13:31




FPbS NY Downto NYCDF NOV-19-2021 15:01 ALYSSA
Date       Reference   Description                                               Charges (USD)        Credits (USD)
15-NOV-21 RT1803       Room Chrg - Weekend Retail/SFB                                    120.00
15-NOV-21 RT1803       State Tax                                                          10.65
15-NOV-21 RT1803       City/Local Tax                                                      7.05
15-NOV-21 RT1803       Occupancy/Tourism                                                   3.50
16-NOV-21 RT1803       Room Chrg - Weekend Retail/SFB                                    128.00
16-NOV-21 RT1803       State Tax                                                          11.36
16-NOV-21 RT1803       City/Local Tax                                                      7.52
16-NOV-21 RT1803       Occupancy/Tourism                                                   3.50
17-NOV-21 RT1803       Room Chrg - Weekend Retail/SFB                                    137.00
17-NOV-21 RT1803       State Tax                                                          12.16
17-NOV-21 RT1803       City/Local Tax                                                      8.05
17-NOV-21 RT1803       Occupancy/Tourism                                                   3.50
18-NOV-21 VI           Visa-5706                                                                               -452.29


            Approve EMV Receipt for VI - 5706: Signature Captured
            TC:2B0D9DC89E4437D1 IAD:06021203602002 TVR:0000008000
            AID:A0000000031010 Application Label:CHASE VISA



                                 ** Total                                                452.29                -452.29
                                 *** Balance                                               0.00




                                               Continued on the next page
         Case 21-30589-MBK                  Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                      Desc
                                           Exhibit A-expense receipts Page 24 of 105



Four Points New York Downtown
6 Platt St
New York, NY 10038
United States
Tel: 212-273-9388


  CHRIS TISI                                                               Page Number            :    2
  PO BOX 1258                                                              Guest Number           :    352950
  WILSON, WY, 83014-1258                                                   Folio ID               :    A
  United States Of America                                                 No. Of Guest           :    1
                                                                           Room Number            :    1803
                                                                           Marriott Bonvoy Number :    1642
                                                                           Arrive Date            :    15-NOV-21           17:04
                                                                           Depart Date            :    18-NOV-21           13:31




        I agreed to pay all room & incidental charges.




Tell us about your stay. www.fourpoints.com/reviews



EXPENSE SUMMARY REPORT
                                                               Currency: USD



Date                         Room          RM Tax        Food/Bev        Telecom            Other          Total      Payment
11-15-2021                   0.00             0.00             0.00           0.00        141.20         141.20            0.00
11-16-2021                   0.00             0.00             0.00           0.00        150.38         150.38            0.00
11-17-2021                   0.00             0.00             0.00           0.00        160.71         160.71            0.00
11-18-2021                   0.00             0.00             0.00           0.00           0.00           0.00       -452.29
                        ------------     ------------     ------------   ------------   ------------   ------------   ------------
Total                        0.00             0.00             0.00           0.00        452.29         452.29        -452.29
                       Case 21-30589-MBK       Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14            Desc
                                              ExhibitDecember 2021
                                                      A-expense    TCC HenryPage
                                                                 receipts   Expenses
                                                                                 25 of 105

Name                Role                                        Date Expense Details           Expense Cost
Christopher Tisi,
Esq.                Representative of TCC Member          12/14/2021 United flight to Newark            $227.20
Christopher Tisi,
Esq.                Representative of TCC Member          12/15/2021 Hotel stay                         $194.86
Christopher Tisi,                                                    United flight from
Esq.                Representative of TCC Member          12/17/2021 Newark                             $173.40
Christopher Tisi,
Esq.                Representative of TCC Member          12/16/2021 CourtSolutions                      $50.00

                                                                      Total                             $645.46
3/10/22, 1:30Case
              PM      21-30589-MBK          Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                   Desc
                                           Exhibit A-expense receipts Page 26 of 105
Fwd: CourtSolutions LLC Transaction Invoice

  Chris Tisi
  Mon 11/22/2021 10:52 AM

  Sent Items

  To: Jeffery   Wright <jwright@levinlaw.com>;




Sent from my iPhone

Begin forwarded message:


         From: NoReply@court-solutions.com
         Date: November 22, 2021 at 10:40:44 AM MST
         To: Chris Tisi <ctisi@levinlaw.com>
         Cc: Chris Tisi <ctisi@levinlaw.com>
         Subject: CourtSolutions LLC Transaction Invoice




                                                        CAUTION: This email message is EXTERNAL.




                  CourtSolutions Receipt

                  Case Name: LTL Management LLC.
                  Case Number: 21-30589
                  Judge: Michael Kaplan
                  Date and Time of Hearing: 11/22/2021 1:00 PM EST



                  Billing Information
                  Christopher Tisi
                  Levin Papantonio Rafferty
                  316 South Baylen Street, Suite 600, Pensacola, FL 32502, United States
                  ctisi@levinlaw.com


https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                              1/2
3/10/22, 1:30Case
              PM    21-30589-MBK            Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                   Desc
               Total: 50.00                Exhibit A-expense receipts Page 27 of 105
               CC Number: XXXX4456

               Thank you for using CourtSolutions!

               Please note that you can join and rejoin this call with this judge multiple times today and will
               not incur any additional charges as long as you reuse this same reservation. The reservation
               works the entire calendar day. If the hearing is continued to another day, you need to make
               a new reservation and will be subject to a new fee.

               Date/Time: 11/22/2021 12:39:31 PM




https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                              2/2
            Case
12/27/21, 10:23 AM    21-30589-MBK          Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                 Mail - ctisi@levinlaw.com                             Desc
                                           Exhibit A-expense receipts Page 28 of 105
eTicket Itinerary and Receipt for Confirmation PWJ259

  United Airlines, Inc. <Receipts@united.com>
  Wed 12/8/2021 1:56 PM


  To: Chris   Tisi <ctisi@levinlaw.com>;




                                                        CAUTION: This email message is EXTERNAL.



      United Airlines                                                                                        Wed, Dec 08, 2021


   Thank you for choosing United.
   A receipt of your purchase is shown below. Please retain this email receipt for your records.

   Note: There are travel restrictions in place due to the coronavirus. Check our Important notices page
   for the latest updates

   Get ready for your trip: Visit the Travel-Ready Center, your one-stop digital assistant, to find out
   about important travel requirements specific to your trip.

   Confirmation Number:

   PWJ259
     Flight 1 of 2 UA1112                                                                          Class: United Economy (S)

     Tue, Dec 14, 2021                                                                                             Tue, Dec 14, 2021


     07:00 AM                                                                                               08:42 AM
     Jackson Hole, WY, US (JAC)                                                                                Denver, CO, US (DEN)



     Flight 2 of 2 UA1729                                                                          Class: United Economy (S)

     Tue, Dec 14, 2021                                                                                             Tue, Dec 14, 2021


     10:00 AM                                                                                               03:43 PM
     Denver, CO, US (DEN)                                                                             New York/Newark, NJ, US (EWR)



     Traveler Details

     TISI/CHRISTOPHERVMR
     eTicket number: 0162382597385                                                                      Seats: JAC-DEN -----

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                  1/6
            Case
12/27/21, 10:23 AM   21-30589-MBK
                             Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14 Desc
                                                  Mail - ctisi@levinlaw.com
                            Exhibit A-expense receipts Page 29 of 105
     Frequent Flyer: UA-XXXXX374 Premier 1K®                                           DEN-EWR -----


     Purchase Summary

     Method of payment:                                                                                        Visa ending in 5706
     Date of purchase:                                                                                          Wed, Dec 08, 2021

     Airfare:                                                                                                              189.77 USD
     U.S. Transportation Tax:                                                                                               14.23 USD
     U.S. Flight Segment Tax:                                                                                                8.60 USD
     September 11th Security Fee:                                                                                            5.60 USD
     U.S. Passenger Facility Charge:                                                                                         9.00 USD

     Total Per Passenger:                                                                                                  227.20 USD

     Total:                                                                                                           227.20 USD

  Carbon Footprint
  Your estimated carbon footprint for this trip is 0.24835 tonnes of CO2.
  You can reduce your environmental impact by participating in our CarbonChoice program which supports projects that reduce
  greenhouse gases. Learn more.

  Fare Rules
  Additional charges may apply for changes in addition to any fare rules listed.;NONREF/0VALUAFTDPT
  Cancel reservations before the scheduled departure time or TICKET HAS NO VALUE.

  MileagePlus Accrual Details

     Christophervmr Tisi

     Date                            Flight      From/To                                              Award Miles          PQP       PQF

                                                 Jackson Hole, WY, US (JAC) to
     Tue, Dec 14, 2021               1112                                                             429                  39        1
                                                 Denver, CO, US (DEN)

                                                 Denver, CO, US (DEN) to
     Tue, Dec 14, 2021               1729                                                             1672                 152       1
                                                 New York/Newark, NJ, US (EWR)

     MileagePlus accrual totals:                                                                      2101                 191       2

  Baggage allowance and charges for this itinerary

     Origin and destination for checked           1st bag       2nd bag          1st bag weight and             2nd bag weight and
     baggage                                      charge        charge           dimensions                     dimensions

     Tue, Dec 14, 2021
     Jackson Hole, WY, US (JAC)
                                                  0 USD         0 USD            70lbs(32kg) - 62in(157cm)      70lbs(32kg) - 62in(157cm)
     to New York/Newark, NJ, US (EWR -
     Liberty)

  Baggage check-in must occur with United or United Express, and you must have valid MileagePlus Premier® 1K® membership at time
  of check-in to qualify for waiver of service charges for up to three checked bags (within specified size and weight limits).
https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                       2/6
            Case
12/27/21, 10:23 AM   21-30589-MBK           Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                 Mail - ctisi@levinlaw.com                                     Desc
                                           Exhibit A-expense receipts Page 30 of 105
  Important Information about MileagePlus Earning
      Accruals vary based on the terms and conditions of the traveler’s frequent flyer program, the traveler’s frequent flyer status and the
  itinerary selected. United MileagePlus® mileage accrual is subject to the rules of the MileagePlus program
      Once travel has started, accruals will no longer display. You can view your MileagePlus account for posted accrual
      You can earn up to 75,000 award miles per ticket. The 75,000 award miles cap may be applied to your posted flight activity in an
  order different than shown
      Accrual is only displayed for MileagePlus members who choose to accrue to their MileagePlus account.
      Our Premier Program changes January 1, 2020. If your itinerary includes travel with a scheduled departure in 2020, you may see
  our old Premier accrual metrics if 1) you booked prior to May 1, 2019 and are viewing an emailed receipt or 2) you booked prior to
  August 1, 2019 and are viewing a receipt online. The terms and conditions of Premier qualification can be found at united.com/qualify.

  eTicket Reminders
      Check-in Requirement - Bags must be checked and boarding passes obtained at least 45 minutes prior to scheduled departure.
  Baggage will not be accepted and advance seat assignments may be cancelled if this condition is not met. EXCEPTION: When
  departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver, Detroit, Fort
  Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles, Maui,
  Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
  Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
  Washington, DC (both IAD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.
      Boarding Requirement - Passengers must be prepared to board at the departure gate with their boarding pass at least 15 minutes
  prior to scheduled departure.
      Failure to meet the Boarding Requirements may result in cancellation of reservations, denied boarding, removal of checked
  baggage from the aircraft and loss of eligibility for denied boarding compensation.
      Bring your boarding pass or this eTicket Receipt along with photo identification to the airport.
      The FAA now restricts carry-on baggage to one bag plus one personal item (purse, briefcase, laptop computer, etc.) per passenger.
  The fare rules for your ticket may restrict your carry-on baggage allowance even further.
      For up to the minute flight information, sign-up for our Flight Status Updates or call 1-800-824-6200; in Spanish 1-800-426-5561.
      If flight segments are not flown in order, your reservation will be cancelled. Rebooking will be subject to the fare rules governing your
  ticket.
      For the most current status of your reservation, go to our Flight Status page.
      Your eTicket is non transferable and valid for 1 year from the issue date unless otherwise noted in the fare rules.
      Current policies and updates concerning Coronavirus (Covid 19) can be found at
  https://www.united.com/ual/en/us/fly/travel/notices.html .

  Data Protection Notice
  Your personal data will be processed in accordance with the applicable carrier's privacy policy and if your booking is made via a
  reservation system provider ("GDS"), with its privacy policy. These are available at http://www.iatatravelcenter.com/privacy or from the
  carrier or GDS directly. You should read this documentation, which applies to your booking and specifies, for example, how your
  personal data is collected, stored, used, disclosed and transferred

  Customer Care Contact Information
  We welcome your compliments, comments or complaints regarding United or a United travel experience. You may contact us using our
  Customer Care form

  Hazardous materials
  Federal law forbids the carriage of hazardous materials on board aircraft in your luggage or on your person. A violation can result in five
  years' imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases,
  flammable liquids and solids, oxidizers, poisons, corrosives and radioactive materials. Common examples of hazardous


https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                          3/6
            Case
12/27/21, 10:23 AM   21-30589-MBK       Doc 2965-1 Filed 09/01/22                      Entered 09/01/22 12:47:14 Desc
                                                                        Mail - ctisi@levinlaw.com
                                      Exhibit   A-expense       receipts          Page     31 of 105
  materials/dangerous goods include spare or loose lithium batteries, fireworks, strike-anywhere matches, aerosols, pesticides, bleach
  and corrosive materials. Additional information can be found on:

          united.com restricted items page
          FAA website Pack Safe page
          TSA website Prohibited Items page


  Refunds Within 24 Hours
  When you book and ticket a reservation through united.com, the United mobile app, the United Customer Contact Center, at our ticket
  counters or city ticket offices, or if you use MileagePlus® miles to book an award ticket, we will allow you to cancel the ticketed
  reservation without penalty and receive a 100 percent refund of the ticket price to the original form of payment if you cancel the
  reservation within 24 hours of purchase and if the reservation is made one week or more prior to scheduled flight departure.

  Disinsection Notice
  Certain countries require that the passenger cabins of aircraft be treated with insecticides. For additional information and a list of those
  countries, please visit the U.S. Department of Transportation's disinsection website.

  IMPORTANT CONSUMER NOTICES
  Changes/Cancellations - Most tickets, other than Basic Economy tickets or those for travel originating outside the United States, other
  than for travel between the United States and Mexico or the Caribbean, may be changed to a different itinerary, or cancelled and the
  value of the ticket retained so that it can be applied to a new ticket, without a change fee. Such change or cancellation must be made
  prior to the original ticketed travel date. Travelers making changes will be responsible for the fare difference if the new itinerary has a
  higher fare than the original ticketed itinerary or a credit for future travel on United if the new itinerary has a lower fare than the original
  ticketed itinerary. Unless a waiver applies, Basic Economy tickets may not be changed or cancelled and a change fee will apply for
  changes or cancellations made to tickets for travel originating outside the United States, other than for travel between the United States
  and Mexico or the Caribbean. Policies concerning your ability to make reservation changes and cancellations and any fees associated
  with such changes can be found at Important travel notices | United Airlines.


  Notice of Baggage Liability Limitations - For domestic travel between points within the United States (except for domestic portions of
  international journeys), United's liability for loss of, damage to, or delay in delivery of a customer's checked baggage is limited to $3,500
  per ticketed customer unless a higher value is declared in advance and additional charges are paid (not applicable to wheelchairs or
  other assistive devices). For such travel, United assumes no liability for high value, fragile, perishable, or otherwise excluded items;
  excess valuation may not be declared on certain types of valuable articles. Further information may be obtained from the carrier. For
  international travel governed by the Warsaw Convention (including the domestic portions of the trip), maximum liability is approximately
  640 USD per bag for checked baggage, and 400 USD per passenger for unchecked baggage. For international travel governed by the
  Montreal Convention (including the domestic portions of the trip), maximum liability is 1,288 SDRs per passenger for baggage, whether
  checked or unchecked. For baggage lost, delayed, or damaged in connection with domestic travel, United requires that customers
  provide preliminary notice within 24 hours after arrival of the flight on which the baggage was or was to be transported and submit a
  written claim within 45 days of the flight. For baggage damaged or delayed in connection with most international travel (including
  domestic portions of international journeys), the Montreal Convention and United require customers to provide carriers written notice as
  follows: (a) for damaged baggage, within seven days from the date of receipt of the damaged baggage; (b) for delayed baggage, within
  21 days from the date the baggage should have been returned to the customer. Please refer to Rule 28 of United's Contract of Carriage
  for important information relating to baggage and other limitations of liability.


  Notice of Incorporated Terms - Transportation is subject to the terms and conditions of United's Contract of Carriage, which are
  incorporated herein by reference. Incorporated terms may include, but are not limited to: 1. Limits on liability for personal injury or death
  of the customer, and for loss, damage, or delay of goods and baggage, including high value, fragile, perishable, or otherwise excluded
  items. 2. Claims restrictions, including time periods within which customers must file a claim or bring an action against the carrier. 3.
  Rights of the carrier to change terms of the contract. 4. Rules about reconfirmation of reservations, check-in times, and refusal to carry.

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                                4/6
            Case
12/27/21, 10:23 AM   21-30589-MBK            Doc 2965-1 Filed 09/01/22                        Entered 09/01/22 12:47:14 Desc
                                                                               Mail - ctisi@levinlaw.com
                                            Exhibit     A-expense        receipts        Page     32 of 105
  5. Rights of the carrier and limits on liability for delay or failure to perform service, including schedule changes, substitution of an
  alternate air carrier or aircraft, and rerouting. The full text of United's Contract of Carriage is available at united.com or you may request
  a copy at any United ticket counter. Passengers have the right, upon request at any location where United's tickets are sold within the
  United States, to receive free of charge by mail or other delivery service the full text of United's Contract of Carriage.


  Notice of Certain Terms - If you have purchased a restricted ticket, depending on the rules applicable to the fare paid, one or more
  restrictions including, but not limited to, the following may apply to your travel: (1) the ticket may not be refundable but can be
  exchanged for a fee for another restricted fare ticket meeting all the rules/restrictions of the original ticket (including the payment of any
  difference in fares); (2) a fee may apply for changing/canceling reservations; or (3) select tickets may not be eligible for refunds or
  changes even for a fee; (4) select tickets have no residual value and cannot be applied towards the purchase of future travel; or (5)
  travel may be restricted to specific flights and/ or times and a minimum and/or maximum stay may be required. United reserves the right
  to refuse carriage to any person who has acquired a ticket in violation of any United tariffs, rules, or regulations, or in violation of any
  applicable national, federal, state, or local law, order, regulation, or ordinance. Notwithstanding the foregoing, you are entitled to a full
  refund if you cancel a ticket purchased at least a week prior to departure within 24 hours of purchase.


  Notice of Boarding Times - For Domestic flights, customers must be at the boarding gate at least 15 minutes prior to scheduled
  departure. For International flights, customers must be at the boarding gate at least 30 minutes prior to scheduled departure. The time
  limits provided by United in this Notice are minimum time requirements. Customer and baggage processing times may differ from
  airport to airport. Please visit united.com for information regarding airport-specific boarding times. It is the customer's responsibility to
  arrive at the airport with enough time to complete check-in, baggage, and security screening processes within these minimum time
  limits. Please be sure to check flight information monitors for the correct boarding gate and the departure time of your flight. Failure to
  be at the boarding gate by the required time could result in the loss of your seat without compensation, regardless of whether you are
  already checked in or have a confirmed seat and boarding pass.


  ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATIONS OF LIABILITY - Passengers
  embarking upon a journey involving an ultimate destination or a stop in a country other than the
  country of departure are advised that the provisions of an international treaty (the Warsaw
  Convention, the 1999 Montreal Convention, or other treaty), as well as a carrier's own contract of
  carriage or tariff provisions, may be applicable to their entire journey, including any portion entirely
  within the countries of departure and destination. The applicable treaty governs and may limit the
  liability of carriers to passengers for death or personal injury, destruction or loss of, or damage to,
  baggage, and for delay of passengers and baggage
  Additional protection can usually be obtained by purchasing insurance from a private company. Such
  insurance is not affected by any limitation of the carrier's liability under an international treaty. For
  further information please consult your airline or insurance company representative.

  Notice - Overbooking of Flights - Airline flights may be overbooked, and there is a slight
  chance that a seat will not be available on a flight for which a person has a confirmed
  reservation. If the flight is overbooked, no one will be denied a seat until airline personnel
  first ask for volunteers willing to give up their reservation in exchange for compensation of
  the airline's choosing. If there are not enough volunteers, the airline will deny boarding to
  other persons in accordance with its particular boarding priority. With few exceptions,
  including failure to comply with the carrier's check-in deadlines, which are available upon
  request from the air carrier, persons, denied boarding involuntarily are entitled to
  compensation. The complete rules for the payment of compensation and each airline's
  boarding priorities are available at all airport ticket counters and boarding locations. Some
  airlines do not apply these consumer protections to travel from some foreign countries,
https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                              5/6
            Case
12/27/21, 10:23 AM   21-30589-MBK           Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                 Mail - ctisi@levinlaw.com                  Desc
                                           Exhibit A-expense receipts Page 33 of 105
  although other consumer protections may be available. Check with your airline or your
  travel agent.


    United is a proud member of Star Alliance
Copyright © 2021 United Airlines, Inc. All Rights Reserved


E-mail Information
Please do not reply to this message using the "reply" address.
The information contained in this email is intended for the original recipient only.

View our Privacy Policy                     View our Legal Notices




https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                              6/6
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 34 of 105
            Case
12/27/21, 10:25 AM    21-30589-MBK          Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                 Mail - ctisi@levinlaw.com                            Desc
                                           Exhibit A-expense receipts Page 35 of 105
eTicket Itinerary and Receipt for Confirmation PWP118

  United Airlines, Inc. <Receipts@united.com>
  Wed 12/8/2021 2:01 PM


  To: Chris   Tisi <ctisi@levinlaw.com>;




                                                        CAUTION: This email message is EXTERNAL.



      United Airlines                                                                                      Wed, Dec 08, 2021


   Thank you for choosing United.
   A receipt of your purchase is shown below. Please retain this email receipt for your records.

   Note: There are travel restrictions in place due to the coronavirus. Check our Important notices page
   for the latest updates

   Get ready for your trip: Visit the Travel-Ready Center, your one-stop digital assistant, to find out
   about important travel requirements specific to your trip.

   Confirmation Number:

   PWP118
     Flight 1 of 1 UA4456                                                                          Class: United Economy (V)

     Fri, Dec 17, 2021                                                                                             Fri, Dec 17, 2021


     11:29 AM                                                                                              12:48 PM
     New York/Newark, NJ, US (EWR)                                                                          Burlington, VT, US (BTV)


     Flight Operated by GoJet Airlines dba United Express.




     Traveler Details

     TISI/CHRISTOPHERVMR
     eTicket number: 0162382598269                                                                     Seats: EWR-BTV -----
     Frequent Flyer: UA-XXXXX374 Premier 1K®


     Purchase Summary

     Method of payment:                                                                                 Visa ending in 5706
https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                  1/6
            Case
12/27/21, 10:2521-30589-MBK Doc 2965-1 Filed 09/01/22
                AM                                              Entered 09/01/22 12:47:14 Desc
                                                 Mail - ctisi@levinlaw.com

     Date of purchase:     Exhibit A-expense receipts      Page     36 of 105     Wed, Dec 08, 2021

     Airfare:                                                                                                              147.91 USD
     U.S. Transportation Tax:                                                                                               11.09 USD
     U.S. Flight Segment Tax:                                                                                                4.30 USD
     September 11th Security Fee:                                                                                            5.60 USD
     U.S. Passenger Facility Charge:                                                                                         4.50 USD

     Total Per Passenger:                                                                                                  173.40 USD

     Total:                                                                                                           173.40 USD

  Carbon Footprint
  Your estimated carbon footprint for this trip is 0.10698 tonnes of CO2.
  You can reduce your environmental impact by participating in our CarbonChoice program which supports projects that reduce
  greenhouse gases. Learn more.

  Fare Rules
  Additional charges may apply for changes in addition to any fare rules listed.;NONREF/0VALUAFTDPT
  Cancel reservations before the scheduled departure time or TICKET HAS NO VALUE.

  MileagePlus Accrual Details

     Christophervmr Tisi

     Date                          Flight      From/To                                                Award Miles          PQP       PQF

                                               New York/Newark, NJ, US (EWR) to
     Fri, Dec 17, 2021             4456                                                               1628                 148       1
                                               Burlington, VT, US (BTV)

     MileagePlus accrual totals:                                                                      1628                 148       1

  Baggage allowance and charges for this itinerary

     Origin and destination for checked           1st bag       2nd bag         1st bag weight and              2nd bag weight and
     baggage                                      charge        charge          dimensions                      dimensions

     Fri, Dec 17, 2021
     New York/Newark, NJ, US (EWR -
                                                  0 USD         0 USD           70lbs(32kg) - 62in(157cm)       70lbs(32kg) - 62in(157cm)
     Liberty)
     to Burlington, VT, US (BTV)

  Baggage check-in must occur with United or United Express, and you must have valid MileagePlus Premier® 1K® membership at time
  of check-in to qualify for waiver of service charges for up to three checked bags (within specified size and weight limits).

  Important Information about MileagePlus Earning
      Accruals vary based on the terms and conditions of the traveler’s frequent flyer program, the traveler’s frequent flyer status and the
  itinerary selected. United MileagePlus® mileage accrual is subject to the rules of the MileagePlus program
      Once travel has started, accruals will no longer display. You can view your MileagePlus account for posted accrual
      You can earn up to 75,000 award miles per ticket. The 75,000 award miles cap may be applied to your posted flight activity in an
  order different than shown
      Accrual is only displayed for MileagePlus members who choose to accrue to their MileagePlus account.

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                          2/6
            Case
12/27/21, 10:25 AM   21-30589-MBK     Doc 2965-1 Filed 09/01/22                       Entered 09/01/22 12:47:14 Desc
                                                                       Mail - ctisi@levinlaw.com
                                     Exhibit   A-expense        receipts         Page     37 of 105
      Our Premier Program changes January 1, 2020. If your itinerary includes travel with a scheduled departure in 2020, you may see
  our old Premier accrual metrics if 1) you booked prior to May 1, 2019 and are viewing an emailed receipt or 2) you booked prior to
  August 1, 2019 and are viewing a receipt online. The terms and conditions of Premier qualification can be found at united.com/qualify.

  eTicket Reminders
      Check-in Requirement - Bags must be checked and boarding passes obtained at least 45 minutes prior to scheduled departure.
  Baggage will not be accepted and advance seat assignments may be cancelled if this condition is not met. EXCEPTION: When
  departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver, Detroit, Fort
  Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles, Maui,
  Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
  Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
  Washington, DC (both IAD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.
      Boarding Requirement - Passengers must be prepared to board at the departure gate with their boarding pass at least 15 minutes
  prior to scheduled departure.
      Failure to meet the Boarding Requirements may result in cancellation of reservations, denied boarding, removal of checked
  baggage from the aircraft and loss of eligibility for denied boarding compensation.
      Bring your boarding pass or this eTicket Receipt along with photo identification to the airport.
      The FAA now restricts carry-on baggage to one bag plus one personal item (purse, briefcase, laptop computer, etc.) per passenger.
  The fare rules for your ticket may restrict your carry-on baggage allowance even further.
      For up to the minute flight information, sign-up for our Flight Status Updates or call 1-800-824-6200; in Spanish 1-800-426-5561.
      If flight segments are not flown in order, your reservation will be cancelled. Rebooking will be subject to the fare rules governing your
  ticket.
      For the most current status of your reservation, go to our Flight Status page.
      Your eTicket is non transferable and valid for 1 year from the issue date unless otherwise noted in the fare rules.
      Current policies and updates concerning Coronavirus (Covid 19) can be found at
  https://www.united.com/ual/en/us/fly/travel/notices.html .

  Data Protection Notice
  Your personal data will be processed in accordance with the applicable carrier's privacy policy and if your booking is made via a
  reservation system provider ("GDS"), with its privacy policy. These are available at http://www.iatatravelcenter.com/privacy or from the
  carrier or GDS directly. You should read this documentation, which applies to your booking and specifies, for example, how your
  personal data is collected, stored, used, disclosed and transferred

  Customer Care Contact Information
  We welcome your compliments, comments or complaints regarding United or a United travel experience. You may contact us using our
  Customer Care form

  Hazardous materials
  Federal law forbids the carriage of hazardous materials on board aircraft in your luggage or on your person. A violation can result in five
  years' imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases,
  flammable liquids and solids, oxidizers, poisons, corrosives and radioactive materials. Common examples of hazardous
  materials/dangerous goods include spare or loose lithium batteries, fireworks, strike-anywhere matches, aerosols, pesticides, bleach
  and corrosive materials. Additional information can be found on:

            united.com restricted items page
            FAA website Pack Safe page
            TSA website Prohibited Items page


  Refunds Within 24 Hours

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                         3/6
            Case
12/27/21, 10:25 AM   21-30589-MBK       Doc 2965-1 Filed 09/01/22                   Entered 09/01/22 12:47:14 Desc
                                                                     Mail - ctisi@levinlaw.com
                                       Exhibit  A-expense      receipts        Page     38 of 105
  When you book and ticket a reservation through united.com, the United mobile app, the United Customer Contact Center, at our ticket
  counters or city ticket offices, or if you use MileagePlus® miles to book an award ticket, we will allow you to cancel the ticketed
  reservation without penalty and receive a 100 percent refund of the ticket price to the original form of payment if you cancel the
  reservation within 24 hours of purchase and if the reservation is made one week or more prior to scheduled flight departure.

  Disinsection Notice
  Certain countries require that the passenger cabins of aircraft be treated with insecticides. For additional information and a list of those
  countries, please visit the U.S. Department of Transportation's disinsection website.

  IMPORTANT CONSUMER NOTICES
  Changes/Cancellations - Most tickets, other than Basic Economy tickets or those for travel originating outside the United States, other
  than for travel between the United States and Mexico or the Caribbean, may be changed to a different itinerary, or cancelled and the
  value of the ticket retained so that it can be applied to a new ticket, without a change fee. Such change or cancellation must be made
  prior to the original ticketed travel date. Travelers making changes will be responsible for the fare difference if the new itinerary has a
  higher fare than the original ticketed itinerary or a credit for future travel on United if the new itinerary has a lower fare than the original
  ticketed itinerary. Unless a waiver applies, Basic Economy tickets may not be changed or cancelled and a change fee will apply for
  changes or cancellations made to tickets for travel originating outside the United States, other than for travel between the United States
  and Mexico or the Caribbean. Policies concerning your ability to make reservation changes and cancellations and any fees associated
  with such changes can be found at Important travel notices | United Airlines.


  Notice of Baggage Liability Limitations - For domestic travel between points within the United States (except for domestic portions of
  international journeys), United's liability for loss of, damage to, or delay in delivery of a customer's checked baggage is limited to $3,500
  per ticketed customer unless a higher value is declared in advance and additional charges are paid (not applicable to wheelchairs or
  other assistive devices). For such travel, United assumes no liability for high value, fragile, perishable, or otherwise excluded items;
  excess valuation may not be declared on certain types of valuable articles. Further information may be obtained from the carrier. For
  international travel governed by the Warsaw Convention (including the domestic portions of the trip), maximum liability is approximately
  640 USD per bag for checked baggage, and 400 USD per passenger for unchecked baggage. For international travel governed by the
  Montreal Convention (including the domestic portions of the trip), maximum liability is 1,288 SDRs per passenger for baggage, whether
  checked or unchecked. For baggage lost, delayed, or damaged in connection with domestic travel, United requires that customers
  provide preliminary notice within 24 hours after arrival of the flight on which the baggage was or was to be transported and submit a
  written claim within 45 days of the flight. For baggage damaged or delayed in connection with most international travel (including
  domestic portions of international journeys), the Montreal Convention and United require customers to provide carriers written notice as
  follows: (a) for damaged baggage, within seven days from the date of receipt of the damaged baggage; (b) for delayed baggage, within
  21 days from the date the baggage should have been returned to the customer. Please refer to Rule 28 of United's Contract of Carriage
  for important information relating to baggage and other limitations of liability.


  Notice of Incorporated Terms - Transportation is subject to the terms and conditions of United's Contract of Carriage, which are
  incorporated herein by reference. Incorporated terms may include, but are not limited to: 1. Limits on liability for personal injury or death
  of the customer, and for loss, damage, or delay of goods and baggage, including high value, fragile, perishable, or otherwise excluded
  items. 2. Claims restrictions, including time periods within which customers must file a claim or bring an action against the carrier. 3.
  Rights of the carrier to change terms of the contract. 4. Rules about reconfirmation of reservations, check-in times, and refusal to carry.
  5. Rights of the carrier and limits on liability for delay or failure to perform service, including schedule changes, substitution of an
  alternate air carrier or aircraft, and rerouting. The full text of United's Contract of Carriage is available at united.com or you may request
  a copy at any United ticket counter. Passengers have the right, upon request at any location where United's tickets are sold within the
  United States, to receive free of charge by mail or other delivery service the full text of United's Contract of Carriage.


  Notice of Certain Terms - If you have purchased a restricted ticket, depending on the rules applicable to the fare paid, one or more
  restrictions including, but not limited to, the following may apply to your travel: (1) the ticket may not be refundable but can be
  exchanged for a fee for another restricted fare ticket meeting all the rules/restrictions of the original ticket (including the payment of any

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                                4/6
            Case
12/27/21, 10:25 AM   21-30589-MBK           Doc 2965-1 Filed 09/01/22                   Entered 09/01/22 12:47:14 Desc
                                                                         Mail - ctisi@levinlaw.com
                                         Exhibit    A-expense      receipts        Page     39 of 105
  difference in fares); (2) a fee may apply for changing/canceling reservations; or (3) select tickets may not be eligible for refunds or
  changes even for a fee; (4) select tickets have no residual value and cannot be applied towards the purchase of future travel; or (5)
  travel may be restricted to specific flights and/ or times and a minimum and/or maximum stay may be required. United reserves the right
  to refuse carriage to any person who has acquired a ticket in violation of any United tariffs, rules, or regulations, or in violation of any
  applicable national, federal, state, or local law, order, regulation, or ordinance. Notwithstanding the foregoing, you are entitled to a full
  refund if you cancel a ticket purchased at least a week prior to departure within 24 hours of purchase.


  Notice of Boarding Times - For Domestic flights, customers must be at the boarding gate at least 15 minutes prior to scheduled
  departure. For International flights, customers must be at the boarding gate at least 30 minutes prior to scheduled departure. The time
  limits provided by United in this Notice are minimum time requirements. Customer and baggage processing times may differ from
  airport to airport. Please visit united.com for information regarding airport-specific boarding times. It is the customer's responsibility to
  arrive at the airport with enough time to complete check-in, baggage, and security screening processes within these minimum time
  limits. Please be sure to check flight information monitors for the correct boarding gate and the departure time of your flight. Failure to
  be at the boarding gate by the required time could result in the loss of your seat without compensation, regardless of whether you are
  already checked in or have a confirmed seat and boarding pass.


  ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATIONS OF LIABILITY - Passengers
  embarking upon a journey involving an ultimate destination or a stop in a country other than the
  country of departure are advised that the provisions of an international treaty (the Warsaw
  Convention, the 1999 Montreal Convention, or other treaty), as well as a carrier's own contract of
  carriage or tariff provisions, may be applicable to their entire journey, including any portion entirely
  within the countries of departure and destination. The applicable treaty governs and may limit the
  liability of carriers to passengers for death or personal injury, destruction or loss of, or damage to,
  baggage, and for delay of passengers and baggage
  Additional protection can usually be obtained by purchasing insurance from a private company. Such
  insurance is not affected by any limitation of the carrier's liability under an international treaty. For
  further information please consult your airline or insurance company representative.

  Notice - Overbooking of Flights - Airline flights may be overbooked, and there is a slight
  chance that a seat will not be available on a flight for which a person has a confirmed
  reservation. If the flight is overbooked, no one will be denied a seat until airline personnel
  first ask for volunteers willing to give up their reservation in exchange for compensation of
  the airline's choosing. If there are not enough volunteers, the airline will deny boarding to
  other persons in accordance with its particular boarding priority. With few exceptions,
  including failure to comply with the carrier's check-in deadlines, which are available upon
  request from the air carrier, persons, denied boarding involuntarily are entitled to
  compensation. The complete rules for the payment of compensation and each airline's
  boarding priorities are available at all airport ticket counters and boarding locations. Some
  airlines do not apply these consumer protections to travel from some foreign countries,
  although other consumer protections may be available. Check with your airline or your
  travel agent.


    United is a proud member of Star Alliance
Copyright © 2021 United Airlines, Inc. All Rights Reserved


E-mail Information

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                             5/6
            Case
12/27/21, 10:25 AM   21-30589-MBKDoc 2965-1 Filed 09/01/22             Entered 09/01/22 12:47:14
                                                        Mail - ctisi@levinlaw.com                  Desc
                                Exhibit A-expense  receipts
Please do not reply to this message using the "reply" address.    Page     40 of 105
The information contained in this email is intended for the original recipient only.

View our Privacy Policy                     View our Legal Notices




https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                     6/6
                       Case 21-30589-MBK       Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14    Desc
                                                      January 2022receipts
                                              Exhibit A-expense    TCC Henry Expenses
                                                                             Page 41 of 105

Name                Role                               Date Expense Details         Expense Cost
Christopher Tisi,   Representative of   1/11/2022 to        Flight to New York then
Esq.                TCC Member          1/13/2022           Flight home                     $659.20
Christopher Tisi,   Representative of   1/11/2022 to
Esq.                TCC Member          1/13/2022           Hotel                          $252.45
Christopher Tisi,   Representative of   1/11/2022 to
Esq.                TCC Member          1/13/2022        Parking                            $51.00
Christopher Tisi,   Representative of                    Transportation to
Esq.                TCC Member                 1/13/2022 Hotel                              $58.16
Christopher Tisi,   Representative of                    Transportation to
Esq.                TCC Member                 1/11/2022 Hotel                              $60.50


                                                            Total                        $1,081.31
1/10/22, 3:39Case
              PM      21-30589-MBK          Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                           Desc
                                           Exhibit A-expense receipts Page 42 of 105
eTicket Itinerary and Receipt for Confirmation H3HKBP

  United Airlines, Inc. <Receipts@united.com>
  Mon 1/10/2022 1:34 PM


  To: Chris   Tisi <ctisi@levinlaw.com>;




                                                       CAUTION: This email message is EXTERNAL.



      United Airlines                                                                                      Mon, Jan 10, 2022


   Thank you for choosing United.
   A receipt of your purchase is shown below. Please retain this email receipt for your records.

   Note: There are travel restrictions in place due to the coronavirus. Check our Important notices page
   for the latest updates

   Get ready for your trip: Visit the Travel-Ready Center, your one-stop digital assistant, to find out
   about important travel requirements specific to your trip.

   Confirmation Number:

   H3HKBP
     Flight 1 of 4 UA1929                                                                         Class: United Economy (W)

     Tue, Jan 11, 2022                                                                                           Tue, Jan 11, 2022


     07:00 AM                                                                                             08:45 AM
     Jackson Hole, WY, US (JAC)                                                                             Denver, CO, US (DEN)



     Flight 2 of 4 UA423                                                                          Class: United Economy (W)

     Tue, Jan 11, 2022                                                                                           Tue, Jan 11, 2022


     09:50 AM                                                                                             03:31 PM
     Denver, CO, US (DEN)                                                                                  New York, NY, US (LGA)



     Flight 3 of 4 UA2624                                                                         Class: United Economy (W)

     Fri, Jan 14, 2022                                                                                           Fri, Jan 14, 2022




https://us.exg7.exghost.com/owa/#path=/mail/inbox/rp                                                                                 1/6
1/10/22, 3:39Case
              PM    21-30589-MBK            Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                             Desc
                                           Exhibit A-expense receipts Page 43 of 105
     07:55 AM                                                                                              10:29 AM
     New York, NY, US (LGA)                                                                                   Denver, CO, US (DEN)



     Flight 4 of 4 UA296                                                                      Class: United Economy (W)

     Fri, Jan 14, 2022                                                                                             Fri, Jan 14, 2022


     11:25 AM                                                                                              12:59 PM
     Denver, CO, US (DEN)                                                                               Jackson Hole, WY, US (JAC)



     Traveler Details

     TISI/CHRISTOPHERV
     eTicket number: 0162387777869                                                                    Seats: JAC-DEN 20F
     Frequent Flyer: UA-XXXXX374 Premier 1K®                                                                 DEN-LGA 20F
                                                                                                            LGA-DEN 10C
                                                                                                             DEN-JAC 20B


     Purchase Summary

     Method of payment:                                                                                Visa ending in 5706
     Date of purchase:                                                                                  Mon, Jan 10, 2022

     Airfare:                                                                                                     569.30 USD
     U.S. Transportation Tax:                                                                                      42.70 USD
     U.S. Flight Segment Tax:                                                                                      18.00 USD
     September 11th Security Fee:                                                                                  11.20 USD
     U.S. Passenger Facility Charge:                                                                               18.00 USD

     Total Per Passenger:                                                                                         659.20 USD

     Total:                                                                                                   659.20 USD

  Carbon Footprint
  Your estimated carbon footprint for this trip is 0.65709 tonnes of CO2.
  You can reduce your environmental impact by participating in our CarbonChoice program which supports projects that reduce
  greenhouse gases. Learn more.

  Fare Rules
  Additional charges may apply for changes in addition to any fare rules listed.
  NONREF/0VALUAFTDPT
  Cancel reservations before the scheduled departure time or TICKET HAS NO VALUE.

  MileagePlus Accrual Details


https://us.exg7.exghost.com/owa/#path=/mail/inbox/rp                                                                                   2/6
1/10/22, 3:39Case
              PM    21-30589-MBK               Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                   Mail - ctisi@levinlaw.com                                     Desc
     Christopherv Tisi
                                              Exhibit A-expense receipts Page 44 of 105

     Date                            Flight       From/To                                           Award Miles           PQP           PQF

                                                  Jackson Hole, WY, US (JAC) to
     Tue, Jan 11, 2022               1929                                                           638                   58            1
                                                  Denver, CO, US (DEN)

                                                  Denver, CO, US (DEN) to
     Tue, Jan 11, 2022               423                                                            2508                  228           1
                                                  New York, NY, US (LGA)

                                                  New York, NY, US (LGA) to
     Fri, Jan 14, 2022               2624                                                           2508                  228           1
                                                  Denver, CO, US (DEN)

                                                  Denver, CO, US (DEN) to
     Fri, Jan 14, 2022               296                                                            638                   58            1
                                                  Jackson Hole, WY, US (JAC)

     MileagePlus accrual totals:                                                                    6292                  572           4

  Baggage allowance and charges for this itinerary

     Origin and destination for checked           1st bag       2nd bag           1st bag weight and            2nd bag weight and
     baggage                                      charge        charge            dimensions                    dimensions

     Tue, Jan 11, 2022
     Jackson Hole, WY, US (JAC)
                                                  0 USD         0 USD             70lbs(32kg) - 62in(157cm)     70lbs(32kg) - 62in(157cm)
     to New York, NY, US (LGA -
     LaGuardia)

     Fri, Jan 14, 2022
     New York, NY, US (LGA - LaGuardia)           0 USD         0 USD             70lbs(32kg) - 62in(157cm)     70lbs(32kg) - 62in(157cm)
     to Jackson Hole, WY, US (JAC)

  Baggage check-in must occur with United or United Express, and you must have valid MileagePlus Premier® 1K® membership at time
  of check-in to qualify for waiver of service charges for up to three checked bags (within specified size and weight limits).

  Important Information about MileagePlus Earning
      Accruals vary based on the terms and conditions of the traveler’s frequent flyer program, the traveler’s frequent flyer status and the
  itinerary selected. United MileagePlus® mileage accrual is subject to the rules of the MileagePlus program
      Once travel has started, accruals will no longer display. You can view your MileagePlus account for posted accrual
      You can earn up to 75,000 award miles per ticket. The 75,000 award miles cap may be applied to your posted flight activity in an
  order different than shown
      Accrual is only displayed for MileagePlus members who choose to accrue to their MileagePlus account.
      Our Premier Program changes January 1, 2020. If your itinerary includes travel with a scheduled departure in 2020, you may see
  our old Premier accrual metrics if 1) you booked prior to May 1, 2019 and are viewing an emailed receipt or 2) you booked prior to
  August 1, 2019 and are viewing a receipt online. The terms and conditions of Premier qualification can be found at united.com/qualify.

  eTicket Reminders
      Check-in Requirement - Bags must be checked and boarding passes obtained at least 45 minutes prior to scheduled departure.
  Baggage will not be accepted and advance seat assignments may be cancelled if this condition is not met. EXCEPTION: When
  departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver, Detroit, Fort
  Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles, Maui,
  Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
  Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
  Washington, DC (both IAD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.
https://us.exg7.exghost.com/owa/#path=/mail/inbox/rp                                                                                           3/6
1/10/22, 3:39Case
              PM    21-30589-MBK     Doc 2965-1 Filed 09/01/22                  Entered 09/01/22 12:47:14 Desc
                                                                Mail - ctisi@levinlaw.com
                                    Exhibit  A-expense      receipts        Page    45 of 105
      Boarding Requirement - Passengers must be prepared to board at the departure gate with their boarding pass at least 15 minutes
  prior to scheduled departure.
      Failure to meet the Boarding Requirements may result in cancellation of reservations, denied boarding, removal of checked
  baggage from the aircraft and loss of eligibility for denied boarding compensation.
      Bring your boarding pass or this eTicket Receipt along with photo identification to the airport.
      The FAA now restricts carry-on baggage to one bag plus one personal item (purse, briefcase, laptop computer, etc.) per passenger.
  The fare rules for your ticket may restrict your carry-on baggage allowance even further.
      For up to the minute flight information, sign-up for our Flight Status Updates or call 1-800-824-6200; in Spanish 1-800-426-5561.
      If flight segments are not flown in order, your reservation will be cancelled. Rebooking will be subject to the fare rules governing your
  ticket.
      For the most current status of your reservation, go to our Flight Status page.
      Your eTicket is non transferable and valid for 1 year from the issue date unless otherwise noted in the fare rules.
      Current policies and updates concerning Coronavirus (Covid 19) can be found at
  https://www.united.com/ual/en/us/fly/travel/notices.html .

  Data Protection Notice
  Your personal data will be processed in accordance with the applicable carrier's privacy policy and if your booking is made via a
  reservation system provider ("GDS"), with its privacy policy. These are available at http://www.iatatravelcenter.com/privacy or from the
  carrier or GDS directly. You should read this documentation, which applies to your booking and specifies, for example, how your
  personal data is collected, stored, used, disclosed and transferred

  Customer Care Contact Information
  We welcome your compliments, comments or complaints regarding United or a United travel experience. You may contact us using our
  Customer Care form

  Hazardous materials
  Federal law forbids the carriage of hazardous materials on board aircraft in your luggage or on your person. A violation can result in five
  years' imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases,
  flammable liquids and solids, oxidizers, poisons, corrosives and radioactive materials. Common examples of hazardous
  materials/dangerous goods include spare or loose lithium batteries, fireworks, strike-anywhere matches, aerosols, pesticides, bleach
  and corrosive materials. Additional information can be found on:

            united.com restricted items page
            FAA website Pack Safe page
            TSA website Prohibited Items page


  Refunds Within 24 Hours
  When you book and ticket a reservation through united.com, the United mobile app, the United Customer Contact Center, at our ticket
  counters or city ticket offices, or if you use MileagePlus® miles to book an award ticket, we will allow you to cancel the ticketed
  reservation without penalty and receive a 100 percent refund of the ticket price to the original form of payment if you cancel the
  reservation within 24 hours of purchase and if the reservation is made one week or more prior to scheduled flight departure.

  Disinsection Notice
  Certain countries require that the passenger cabins of aircraft be treated with insecticides. For additional information and a list of those
  countries, please visit the U.S. Department of Transportation's disinsection website.

  IMPORTANT CONSUMER NOTICES
  Changes/Cancellations - Most tickets, other than Basic Economy tickets or those for travel originating outside the United States, other
  than for travel between the United States and Mexico or the Caribbean, may be changed to a different itinerary, or cancelled and the

https://us.exg7.exghost.com/owa/#path=/mail/inbox/rp                                                                                             4/6
1/10/22, 3:39Case
              PM    21-30589-MBK             Doc 2965-1 Filed 09/01/22                    Entered 09/01/22 12:47:14 Desc
                                                                          Mail - ctisi@levinlaw.com
                                           Exhibit   A-expense       receipts         Page    46 of 105
  value of the ticket retained so that it can be applied to a new ticket, without a change fee. Such change or cancellation must be made
  prior to the original ticketed travel date. Travelers making changes will be responsible for the fare difference if the new itinerary has a
  higher fare than the original ticketed itinerary or a credit for future travel on United if the new itinerary has a lower fare than the original
  ticketed itinerary. Unless a waiver applies, Basic Economy tickets may not be changed or cancelled and a change fee will apply for
  changes or cancellations made to tickets for travel originating outside the United States, other than for travel between the United States
  and Mexico or the Caribbean. Policies concerning your ability to make reservation changes and cancellations and any fees associated
  with such changes can be found at Important travel notices | United Airlines.


  Notice of Baggage Liability Limitations - For domestic travel between points within the United States (except for domestic portions of
  international journeys), United's liability for loss of, damage to, or delay in delivery of a customer's checked baggage is limited to $3,500
  per ticketed customer unless a higher value is declared in advance and additional charges are paid (not applicable to wheelchairs or
  other assistive devices). For such travel, United assumes no liability for high value, fragile, perishable, or otherwise excluded items;
  excess valuation may not be declared on certain types of valuable articles. Further information may be obtained from the carrier. For
  international travel governed by the Warsaw Convention (including the domestic portions of the trip), maximum liability is approximately
  640 USD per bag for checked baggage, and 400 USD per passenger for unchecked baggage. For international travel governed by the
  Montreal Convention (including the domestic portions of the trip), maximum liability is 1,288 SDRs per passenger for baggage, whether
  checked or unchecked. For baggage lost, delayed, or damaged in connection with domestic travel, United requires that customers
  provide preliminary notice within 24 hours after arrival of the flight on which the baggage was or was to be transported and submit a
  written claim within 45 days of the flight. For baggage damaged or delayed in connection with most international travel (including
  domestic portions of international journeys), the Montreal Convention and United require customers to provide carriers written notice as
  follows: (a) for damaged baggage, within seven days from the date of receipt of the damaged baggage; (b) for delayed baggage, within
  21 days from the date the baggage should have been returned to the customer. Please refer to Rule 28 of United's Contract of Carriage
  for important information relating to baggage and other limitations of liability.


  Notice of Incorporated Terms - Transportation is subject to the terms and conditions of United's Contract of Carriage, which are
  incorporated herein by reference. Incorporated terms may include, but are not limited to: 1. Limits on liability for personal injury or death
  of the customer, and for loss, damage, or delay of goods and baggage, including high value, fragile, perishable, or otherwise excluded
  items. 2. Claims restrictions, including time periods within which customers must file a claim or bring an action against the carrier. 3.
  Rights of the carrier to change terms of the contract. 4. Rules about reconfirmation of reservations, check-in times, and refusal to carry.
  5. Rights of the carrier and limits on liability for delay or failure to perform service, including schedule changes, substitution of an
  alternate air carrier or aircraft, and rerouting. The full text of United's Contract of Carriage is available at united.com or you may request
  a copy at any United ticket counter. Passengers have the right, upon request at any location where United's tickets are sold within the
  United States, to receive free of charge by mail or other delivery service the full text of United's Contract of Carriage.


  Notice of Certain Terms - If you have purchased a restricted ticket, depending on the rules applicable to the fare paid, one or more
  restrictions including, but not limited to, the following may apply to your travel: (1) the ticket may not be refundable but can be
  exchanged for a fee for another restricted fare ticket meeting all the rules/restrictions of the original ticket (including the payment of any
  difference in fares); (2) a fee may apply for changing/canceling reservations; or (3) select tickets may not be eligible for refunds or
  changes even for a fee; (4) select tickets have no residual value and cannot be applied towards the purchase of future travel; or (5)
  travel may be restricted to specific flights and/ or times and a minimum and/or maximum stay may be required. United reserves the right
  to refuse carriage to any person who has acquired a ticket in violation of any United tariffs, rules, or regulations, or in violation of any
  applicable national, federal, state, or local law, order, regulation, or ordinance. Notwithstanding the foregoing, you are entitled to a full
  refund if you cancel a ticket purchased at least a week prior to departure within 24 hours of purchase.


  Notice of Boarding Times - For Domestic flights, customers must be at the boarding gate at least 15 minutes prior to scheduled
  departure. For International flights, customers must be at the boarding gate at least 30 minutes prior to scheduled departure. The time
  limits provided by United in this Notice are minimum time requirements. Customer and baggage processing times may differ from
  airport to airport. Please visit united.com for information regarding airport-specific boarding times. It is the customer's responsibility to
  arrive at the airport with enough time to complete check-in, baggage, and security screening processes within these minimum time
https://us.exg7.exghost.com/owa/#path=/mail/inbox/rp                                                                                                 5/6
1/10/22, 3:39Case
              PM    21-30589-MBK             Doc 2965-1 Filed 09/01/22                   Entered 09/01/22 12:47:14 Desc
                                                                         Mail - ctisi@levinlaw.com
                                           Exhibit  A-expense       receipts         Page    47 of 105
  limits. Please be sure to check flight information monitors for the correct boarding gate and the departure time of your flight. Failure to
  be at the boarding gate by the required time could result in the loss of your seat without compensation, regardless of whether you are
  already checked in or have a confirmed seat and boarding pass.


  ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATIONS OF LIABILITY - Passengers
  embarking upon a journey involving an ultimate destination or a stop in a country other than the
  country of departure are advised that the provisions of an international treaty (the Warsaw
  Convention, the 1999 Montreal Convention, or other treaty), as well as a carrier's own contract of
  carriage or tariff provisions, may be applicable to their entire journey, including any portion entirely
  within the countries of departure and destination. The applicable treaty governs and may limit the
  liability of carriers to passengers for death or personal injury, destruction or loss of, or damage to,
  baggage, and for delay of passengers and baggage
  Additional protection can usually be obtained by purchasing insurance from a private company. Such
  insurance is not affected by any limitation of the carrier's liability under an international treaty. For
  further information please consult your airline or insurance company representative.

  Notice - Overbooking of Flights - Airline flights may be overbooked, and there is a slight
  chance that a seat will not be available on a flight for which a person has a confirmed
  reservation. If the flight is overbooked, no one will be denied a seat until airline personnel
  first ask for volunteers willing to give up their reservation in exchange for compensation of
  the airline's choosing. If there are not enough volunteers, the airline will deny boarding to
  other persons in accordance with its particular boarding priority. With few exceptions,
  including failure to comply with the carrier's check-in deadlines, which are available upon
  request from the air carrier, persons, denied boarding involuntarily are entitled to
  compensation. The complete rules for the payment of compensation and each airline's
  boarding priorities are available at all airport ticket counters and boarding locations. Some
  airlines do not apply these consumer protections to travel from some foreign countries,
  although other consumer protections may be available. Check with your airline or your
  travel agent.


    United is a proud member of Star Alliance
Copyright © 2022 United Airlines, Inc. All Rights Reserved


E-mail Information
Please do not reply to this message using the "reply" address.
The information contained in this email is intended for the original recipient only.

View our Privacy Policy                      View our Legal Notices




https://us.exg7.exghost.com/owa/#path=/mail/inbox/rp                                                                                            6/6
       Case 21-30589-MBK               Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                   Desc
                                      Exhibit A-expense receipts Page 48 of 105




Four Points Manhattan SoHo Village
66 Charlton Street
New York, NY 10014
United States
Tel: 212-229-9988 Fax: 212-229-1018


CHRIS TISI                                                       Page Number            :      1             Invoice Nbr             :   1000049336
PO BOX 1258                                                      Guest Number           :      482906
WILSON, WY, 83014-1258                                           Folio ID               :      A
United States Of America                                         Arrive Date            :      11-JAN-22      16:29
                                                                 Depart Date            :      13-JAN-22      12:01
                                                                 No. Of Guest           :      1
                                                                 Room Number            :      1908
                                                                 Marriott Bonvoy Number :      1642


                                                                 Tax Invoice


Tax ID :
Four Pts SoHo NYCFO JAN-13-2022 12:10 GISELE
Date         Reference       Description                                                    Charges (USD)         Credits (USD)
11-JAN-22    RT1908          Rm Chrg - AAA                                                           84.15
11-JAN-22    RT1908          State Tax                                                                7.47
11-JAN-22    RT1908          City/Local Tax                                                           4.94
11-JAN-22    RT1908          Occupancy/Tourism                                                        2.00
11-JAN-22    RT1908          Javits                                                                   1.50
12-JAN-22    RT1908          Rm Chrg - AAA                                                           84.15
12-JAN-22    RT1908          State Tax                                                                7.47
12-JAN-22    RT1908          City/Local Tax                                                           4.94
12-JAN-22    RT1908          Occupancy/Tourism                                                        2.00
12-JAN-22    RT1908          Javits                                                                   1.50
13-JAN-22    VI              Visa-5706                                                                                     -200.12
             ***For Authorization Purpose Only***
             xxxxxx5706
             Date               Time           Code                    Authorized
             11-JAN-22          16:29          07512I                     252.45




                                                        Continued on the next page
       Case 21-30589-MBK                 Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                           Desc
                                        Exhibit A-expense receipts Page 49 of 105




Four Points Manhattan SoHo Village
66 Charlton Street
New York, NY 10014
United States
Tel: 212-229-9988 Fax: 212-229-1018


CHRIS TISI                                                     Page Number            :   2            Invoice Nbr             :   1000049336
PO BOX 1258                                                    Guest Number           :   482906
WILSON, WY, 83014-1258                                         Folio ID               :   A
United States Of America                                       Arrive Date            :   11-JAN-22     16:29
                                                               Depart Date            :   13-JAN-22     12:01
                                                               No. Of Guest           :   1
                                                               Room Number            :   1908
                                                               Marriott Bonvoy Number :   1642



             Approve EMV Receipt for VI - 5706: Signature Captured
             TC:FF7192D2C08A7D86 IAD:0602120360A002 TVR:0000008000
             AID:A0000000031010 Application Label:CHASE VISA



                                        ** Total                                              200.12                 -200.12
                                        *** Balance                                             0.00




     I agreed to pay all room & incidental charges.




Tell us about your stay. www.fourpoints.com/reviews




                                                      Continued on the next page
        Case 21-30589-MBK                 Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                             Desc
                                         Exhibit A-expense receipts Page 50 of 105




Four Points Manhattan SoHo Village
66 Charlton Street
New York, NY 10014
United States
Tel: 212-229-9988 Fax: 212-229-1018


CHRIS TISI                                                            Page Number            :          3                   Invoice Nbr     :    1000049336
PO BOX 1258                                                           Guest Number           :          482906
WILSON, WY, 83014-1258                                                Folio ID               :          A
United States Of America                                              Arrive Date            :          11-JAN-22            16:29
                                                                      Depart Date            :          13-JAN-22            12:01
                                                                      No. Of Guest           :          1
                                                                      Room Number            :          1908
                                                                      Marriott Bonvoy Number :          1642


EXPENSE SUMMARY REPORT
                                                            Currency: USD



Date             Room & Tax        Food & Bev        Telephone               Other           Total           Payment
01-11-2022               0.00              0.00             0.00           100.06          100.06                 0.00
01-12-2022               0.00              0.00             0.00           100.06          100.06                 0.00
01-13-2022               0.00              0.00             0.00              0.00            0.00            -200.12
                    ------------      ------------     ------------      ------------    ------------        ------------
Total                    0.00              0.00             0.00           200.12          200.12             -200.12


Signature_____________________
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 51 of 105
Case 21-30589-MBK               Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                      Desc
                               Exhibit A-expense receipts Page 52 of 105

 From:          Chris Tisi
 To:            Jadyn Fuszner
 Subject:       Fwd: [Business] Your Thursday morning trip with Uber
 Date:          Tuesday, January 25, 2022 8:58:36 AM




 Sent from my iPhone

 Begin forwarded message:


        From: Uber Receipts <noreply@uber.com>
        Date: January 25, 2022 at 8:58:18 AM CST
        To: Chris Tisi <ctisi@levinlaw.com>
        Subject: [Business] Your Thursday morning trip with Uber


        ﻿
                                          CAUTION: This email message is EXTERNAL.




                                                                                          Total $58.16
                                                                                      January 13, 2022




                   Thanks for tipping, Chris
                   Here's your updated Thursday
                   morning ride receipt.




                   Total                                                             $58.16
                          In addition to other government-mandated taxes and fees, you'll also
                          notice a Congestion Surcharge on Manhattan trips below 96th St.
                          Learn more




                   Trip Fare                                                                 $36.64




                   Subtotal                                                                  $36.64
Case 21-30589-MBK      Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                 Desc
                      Exhibit A-expense receipts Page 53 of 105

            NY Congestion Fee                                                                      $2.75

            State Sales Tax                                                                        $3.47

            NY Black Car Fund                                                                      $1.17

            Tolls, Surcharges, and Fees                                                            $2.50

            Tip                                                                                   $11.63




            Payments

                      Visa ••••5706                                                               $58.16
                      1/13/22 12:02 PM

            Affiliated with UBER USA, LLC (B03404)


            Dispatched by UBER USA, LLC (B03404)


            To submit a complaint to the NYC TLC, please call 311.


            Download PDF



            You rode with Assim
            4.96   Rating                                 Has passed a multi-step safety screen


            License Plate: T742677C

            FHV License Number: 5725137

            Driver's TLC License Number: 5921084




            When you ride with Uber, your trips are insured in case of a covered
            accident.
            Learn more




              UberX         11.19 miles | 27 min


                   11:24 AM
                   59 Charlton St, New York, NY
                   10014, US


                   11:52 AM
Case 21-30589-MBK          Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                 Desc
                          Exhibit A-expense receipts Page 54 of 105




                         Terminal B Arrivals &
                         Terminal B Taxi Hold, New
                         York, New York 11371, US




       Report lost item                     Contact support                         My trips




       Forgot password
                                                              Uber Technologies
       Privacy                                                1515 3rd Street
                                                              San Francisco, CA 94158
       Terms
Case 21-30589-MBK                 Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                     Desc
                                 Exhibit A-expense receipts Page 55 of 105

 From:           Chris Tisi
 To:             Jadyn Fuszner
 Subject:        Fwd: [Business] Your Tuesday afternoon trip with Uber
 Date:           Tuesday, January 25, 2022 8:57:14 AM




 Sent from my iPhone

 Begin forwarded message:


        From: Uber Receipts <noreply@uber.com>
        Date: January 25, 2022 at 8:56:18 AM CST
        To: Chris Tisi <ctisi@levinlaw.com>
        Subject: [Business] Your Tuesday afternoon trip with Uber


        ﻿
                                           CAUTION: This email message is EXTERNAL.




                                                                                           Total $60.50
                                                                                       January 11, 2022




                    Thanks for tipping, Chris
                    Here's your updated Tuesday
                    afternoon ride receipt.




                    Total                                                             $60.50
                           In addition to other government-mandated taxes and fees, you'll also
                           notice a Congestion Surcharge on Manhattan trips below 96th St.
                           Learn more




                    Trip Fare                                                                 $34.65




                    Subtotal                                                                  $34.65
Case 21-30589-MBK      Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                 Desc
                      Exhibit A-expense receipts Page 56 of 105

            NY Congestion Fee                                                                      $2.75

            NY Black Car Fund                                                                      $1.31

            State Sales Tax                                                                        $3.88

            Tolls, Surcharges, and Fees                                                            $9.05

            Tip                                                                                    $8.86




            Payments

                      Visa ••••5706                                                               $60.50
                      1/11/22 4:50 PM

            Affiliated with UBER USA, LLC (B03404)


            Dispatched by UBER USA, LLC (B03404)


            To submit a complaint to the NYC TLC, please call 311.


            Download PDF



            You rode with Ran
            4.95   Rating                                 Has passed a multi-step safety screen


            License Plate: T725486C

            FHV License Number: 5752152

            Driver's TLC License Number: 5710295




            When you ride with Uber, your trips are insured in case of a covered
            accident.
            Learn more




              UberX         10.49 miles | 37 min


                   3:49 PM
                   Queens, NY 11371, US


                   4:26 PM
                   59 Charlton St, New York, NY
Case 21-30589-MBK          Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14           Desc
                          Exhibit A-expense receipts Page 57 of 105




                         10014, US




       Report lost item               Contact support                         My trips




       Forgot password
                                                        Uber Technologies
       Privacy                                          1515 3rd Street
                                                        San Francisco, CA 94158
       Terms
                         Case 21-30589-MBK         Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14             Desc
                                                  Exhibit February
                                                          A-expense2022receipts
                                                                        TCC Henry Page
                                                                                  Expenses
                                                                                        58 of 105

Name                          Role                        Date Expense Details          Expense Cost
                              Representative of   2/13/2022 to
Christopher Tisi, Esq.        TCC Member          2/19/2022    Rental Car                               $296.61
                              Representative of
Christopher Tisi, Esq.        TCC Member             2/13/2022 Flight to NC then home                  $1,125.20
                              Representative of   2/13/2022 to
Christopher Tisi, Esq.        TCC Member          2/19/2022    Hotel                                    $964.00
                              Representative of
Christopher Tisi, Esq.        TCC Member             2/10/2022 Pro Hac Fee                              $150.00
                              Representative of                NJ Lawyers Fund for
Christopher Tisi, Esq.        TCC Member             2/10/2022 Client Protection                        $212.00

                                                                Total                                  $2,747.81
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 59 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 60 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 61 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 62 of 105
2/25/22, 2:48Case
              PM      21-30589-MBK          Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                             Desc
                                           Exhibit A-expense receipts Page 63 of 105
eTicket Itinerary and Receipt for Confirmation AG48V1

  United Airlines, Inc. <Receipts@united.com>
  Mon 2/7/2022 2:39 PM

  Deleted Items

  To: Chris   Tisi <ctisi@levinlaw.com>;




                                                        CAUTION: This email message is EXTERNAL.


      United Airlines                                                                                       Mon, Feb 07, 2022


   Thank you for choosing United.
   A receipt of your purchase is shown below. Please retain this email receipt for your records.

   Note: There are travel restrictions in place due to the coronavirus. Check our Important notices page
   for the latest updates

   Get ready for your trip: Visit the Travel-Ready Center, your one-stop digital assistant, to find out
   about important travel requirements specific to your trip.

   Confirmation Number:

   AG48V1
     Flight 1 of 4 UA1285                                                                          Class: United Economy (E)

     Sun, Feb 13, 2022                                                                                            Sun, Feb 13, 2022


     07:00 AM                                                                                              08:45 AM
     Jackson Hole, WY, US (JAC)                                                                               Denver, CO, US (DEN)



     Flight 2 of 4 UA2397                                                                          Class: United Economy (E)

     Sun, Feb 13, 2022                                                                                            Sun, Feb 13, 2022


     09:55 AM                                                                                              03:21 PM
     Denver, CO, US (DEN)                                                                                 Philadelphia, PA, US (PHL)



     Flight 3 of 4 UA2383                                                                          Class: United Economy (U)

     Sat, Feb 19, 2022                                                                                            Sat, Feb 19, 2022


https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                  1/6
2/25/22, 2:48Case
              PM    21-30589-MBK            Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                              Desc
                                           Exhibit A-expense receipts Page 64 of 105
     08:10 AM                                                                                               10:35 AM
     Philadelphia, PA, US (PHL)                                                                                Denver, CO, US (DEN)



     Flight 4 of 4 UA296                                                                        Class: United Economy (U)

     Sat, Feb 19, 2022                                                                                             Sat, Feb 19, 2022


     12:00 PM                                                                                               01:27 PM
     Denver, CO, US (DEN)                                                                                Jackson Hole, WY, US (JAC)



     Traveler Details

     TISI/CHRISTOPHERVMR
     eTicket number: 0162393175006                                                                     Seats: JAC-DEN 20C
     Frequent Flyer: UA-XXXXX374 Premier 1K®                                                                  DEN-PHL 14C
                                                                                                              PHL-DEN 20C
                                                                                                              DEN-JAC 20D


     Purchase Summary

     Method of payment:                                                                         Miscellaneous Document
                                                                                                     Visa ending in 5706
     Date of purchase:                                                                                 Mon, Feb 07, 2022

     Airfare:                                                                                                     1002.78 USD
     U.S. Transportation Tax:                                                                                       75.22 USD
     U.S. Flight Segment Tax:                                                                                       18.00 USD
     September 11th Security Fee:                                                                                   11.20 USD
     U.S. Passenger Facility Charge:                                                                                18.00 USD

     Total Per Passenger:                                                                                         1125.20 USD

     Total:                                                                                                  1125.20 USD

  Additional Collection
  An additional amount of 538.00 USD for the difference in fare was charged to Visa ending in 5706 on Mon, Feb 07, 2022.

  Payment Info
  Remaining value of your previous ticket numbers 0162392922557 was applied to this purchase.

  Carbon Footprint
  Your estimated carbon footprint for this trip is 0.52169 tonnes of CO2.
  You can reduce your environmental impact by participating in our CarbonChoice program which supports projects that reduce
  greenhouse gases. Learn more.


https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                  2/6
2/25/22, 2:48Case
              PM    21-30589-MBK             Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                 Mail - ctisi@levinlaw.com                                       Desc
                                            Exhibit A-expense receipts Page 65 of 105
  Fare Rules
  Additional charge may apply for change in addition to any fare rule li ted
  NONREF/0VALUAFTDPT
  Cancel re ervation before the cheduled departure time or TICKET HAS NO VALUE

  MileagePlus Accrual Details

     Chri tophervmr Ti i

     Date                            Flight       From/To                                          Award Miles           PQP            PQF

                                                  Jackson Hole, WY, US (JAC) to
     Sun, Feb 13, 2022               1285                                                          1221                  111            1
                                                  Denver, CO, US (DEN)

                                                  Denver, CO, US (DEN) to
     Sun, Feb 13, 2022               2397                                                          4686                  426            1
                                                  Philadelphia, PA, US (PHL)

                                                  Philadelphia, PA, US (PHL) to
     Sat, Feb 19, 2022               2383                                                          4070                  370            1
                                                  Denver, CO, US (DEN)

                                                  Denver, CO, US (DEN) to
     Sat, Feb 19, 2022               296                                                           1067                  97             1
                                                  Jackson Hole, WY, US (JAC)

     MileagePlus accrual totals:                                                                   11044                 1004           4

  Baggage allowance and charges for this itinerary

     Origin and destination for checked           1st bag       2nd bag           1st bag weight and             2nd bag weight and
     baggage                                      charge        charge            dimensions                     dimensions

     Sun, Feb 13, 2022
     Jackson Hole, WY, US (JAC)                   0 USD         0 USD             70lbs(32kg) - 62in(157cm)      70lbs(32kg) - 62in(157cm)
     to Philadelphia, PA, US (PHL)

     Sat, Feb 19, 2022
     Philadelphia, PA, US (PHL)                   0 USD         0 USD             70lb (32kg) 62in(157cm)        70lb (32kg) 62in(157cm)
     to Jack on Hole, WY, US (JAC)

  Baggage check-in must occur with United or United Express, and you must have valid MileagePlus Premier® 1K® membership at time
  of check-in to qualify for waiver of service charges for up to three checked bags (within specified size and weight limits).

  Important Information about MileagePlus Earning
      Accruals vary based on the terms and conditions of the traveler’s frequent flyer program, the traveler’s frequent flyer status and the
  itinerary selected. United MileagePlus® mileage accrual is subject to the rules of the MileagePlus program
      Once travel has started, accruals will no longer display. You can view your MileagePlus account for posted accrual
      You can earn up to 75,000 award miles per ticket. The 75,000 award miles cap may be applied to your posted flight activity in an
  order different than shown
      Accrual is only displayed for MileagePlus members who choose to accrue to their MileagePlus account.
      Our Premier Program changes January 1, 2020. If your itinerary includes travel with a scheduled departure in 2020, you may see
  our old Premier accrual metrics if 1) you booked prior to May 1, 2019 and are viewing an emailed receipt or 2) you booked prior to
  August 1, 2019 and are viewing a receipt online. The terms and conditions of Premier qualification can be found at united.com/qualify.

  eTicket Reminders
      Check in Requirement Bag mu t be checked and boarding pa              e obtained at lea t 45 minute prior to cheduled departure

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                          3/6
2/25/22, 2:48Case
              PM    21-30589-MBK       Doc 2965-1 Filed 09/01/22                 Entered 09/01/22 12:47:14 Desc
                                                                 Mail - ctisi@levinlaw.com
                                      Exhibit  A-expense     receipts        Page    66 of 105
  Baggage will not be accepted and advance seat assignments may be cancelled if this condition is not met. EXCEPTION: When
  departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver, Detroit, Fort
  Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles, Maui,
  Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
  Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
  Washington, DC (both IAD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.
      Boarding Requirement - Passengers must be prepared to board at the departure gate with their boarding pass at least 15 minutes
  prior to scheduled departure.
      Failure to meet the Boarding Requirements may result in cancellation of reservations, denied boarding, removal of checked
  baggage from the aircraft and loss of eligibility for denied boarding compensation.
      Bring your boarding pass or this eTicket Receipt along with photo identification to the airport.
      The FAA now restricts carry-on baggage to one bag plus one personal item (purse, briefcase, laptop computer, etc.) per passenger.
  The fare rules for your ticket may restrict your carry-on baggage allowance even further.
      For up to the minute flight information, sign-up for our Flight Status Updates or call 1-800-824-6200; in Spanish 1-800-426-5561.
      If flight segments are not flown in order, your reservation will be cancelled. Rebooking will be subject to the fare rules governing your
  ticket.
      For the most current status of your reservation, go to our Flight Status page.
      Your eTicket is non transferable and valid for 1 year from the issue date unless otherwise noted in the fare rules.
      Current policies and updates concerning Coronavirus (Covid 19) can be found at
  https://www.united.com/ual/en/us/fly/travel/notices.html .

  Data Protection Notice
  Your personal data will be processed in accordance with the applicable carrier's privacy policy and if your booking is made via a
  reservation system provider ("GDS"), with its privacy policy. These are available at http://www.iatatravelcenter.com/privacy or from the
  carrier or GDS directly. You should read this documentation, which applies to your booking and specifies, for example, how your
  personal data is collected, stored, used, disclosed and transferred

  Customer Care Contact Information
  We welcome your compliments, comments or complaints regarding United or a United travel experience. You may contact us using our
  Customer Care form

  Hazardous materials
  Federal law forbids the carriage of hazardous materials on board aircraft in your luggage or on your person. A violation can result in five
  years' imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases,
  flammable liquids and solids, oxidizers, poisons, corrosives and radioactive materials. Common examples of hazardous
  materials/dangerous goods include spare or loose lithium batteries, fireworks, strike-anywhere matches, aerosols, pesticides, bleach
  and corrosive materials. Additional information can be found on:

            united.com restricted items page
            FAA website Pack Safe page
            TSA website Prohibited Items page


  Refunds Within 24 Hours
  When you book and ticket a reservation through united.com, the United mobile app, the United Customer Contact Center, at our ticket
  counters or city ticket offices, or if you use MileagePlus® miles to book an award ticket, we will allow you to cancel the ticketed
  reservation without penalty and receive a 100 percent refund of the ticket price to the original form of payment if you cancel the
  reservation within 24 hours of purchase and if the reservation is made one week or more prior to scheduled flight departure.

  Disinsection Notice

https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                         4/6
2/25/22, 2:48Case
              PM    21-30589-MBK          Doc 2965-1 Filed 09/01/22                     Entered 09/01/22 12:47:14 Desc
                                                                        Mail - ctisi@levinlaw.com
                                         Exhibit  A-expense        receipts         Page    67 of 105
  Certain countries require that the passenger cabins of aircraft be treated with insecticides. For additional information and a list of those
  countries, please visit the U.S. Department of Transportation's disinsection website.

  IMPORTANT CONSUMER NOTICES
  Changes/Cancellations - Most tickets, other than Basic Economy tickets or those for travel originating outside the United States, other
  than for travel between the United States and Mexico or the Caribbean, may be changed to a different itinerary, or cancelled and the
  value of the ticket retained so that it can be applied to a new ticket, without a change fee. Such change or cancellation must be made
  prior to the original ticketed travel date. Travelers making changes will be responsible for the fare difference if the new itinerary has a
  higher fare than the original ticketed itinerary or a credit for future travel on United if the new itinerary has a lower fare than the original
  ticketed itinerary. Unless a waiver applies, Basic Economy tickets may not be changed or cancelled and a change fee will apply for
  changes or cancellations made to tickets for travel originating outside the United States, other than for travel between the United States
  and Mexico or the Caribbean. Policies concerning your ability to make reservation changes and cancellations and any fees associated
  with such changes can be found at Important travel notices | United Airlines.


  Notice of Baggage Liability Limitations - For domestic travel between points within the United States (except for domestic portions of
  international journeys), United's liability for loss of, damage to, or delay in delivery of a customer's checked baggage is limited to $3,500
  per ticketed customer unless a higher value is declared in advance and additional charges are paid (not applicable to wheelchairs or
  other assistive devices). For such travel, United assumes no liability for high value, fragile, perishable, or otherwise excluded items;
  excess valuation may not be declared on certain types of valuable articles. Further information may be obtained from the carrier. For
  international travel governed by the Warsaw Convention (including the domestic portions of the trip), maximum liability is approximately
  640 USD per bag for checked baggage, and 400 USD per passenger for unchecked baggage. For international travel governed by the
  Montreal Convention (including the domestic portions of the trip), maximum liability is 1,288 SDRs per passenger for baggage, whether
  checked or unchecked. For baggage lost, delayed, or damaged in connection with domestic travel, United requires that customers
  provide preliminary notice within 24 hours after arrival of the flight on which the baggage was or was to be transported and submit a
  written claim within 45 days of the flight. For baggage damaged or delayed in connection with most international travel (including
  domestic portions of international journeys), the Montreal Convention and United require customers to provide carriers written notice as
  follows: (a) for damaged baggage, within seven days from the date of receipt of the damaged baggage; (b) for delayed baggage, within
  21 days from the date the baggage should have been returned to the customer. Please refer to Rule 28 of United's Contract of Carriage
  for important information relating to baggage and other limitations of liability.


  Notice of Incorporated Terms - Transportation is subject to the terms and conditions of United's Contract of Carriage, which are
  incorporated herein by reference. Incorporated terms may include, but are not limited to: 1. Limits on liability for personal injury or death
  of the customer, and for loss, damage, or delay of goods and baggage, including high value, fragile, perishable, or otherwise excluded
  items. 2. Claims restrictions, including time periods within which customers must file a claim or bring an action against the carrier. 3.
  Rights of the carrier to change terms of the contract. 4. Rules about reconfirmation of reservations, check-in times, and refusal to carry.
  5. Rights of the carrier and limits on liability for delay or failure to perform service, including schedule changes, substitution of an
  alternate air carrier or aircraft, and rerouting. The full text of United's Contract of Carriage is available at united.com or you may request
  a copy at any United ticket counter. Passengers have the right, upon request at any location where United's tickets are sold within the
  United States, to receive free of charge by mail or other delivery service the full text of United's Contract of Carriage.


  Notice of Certain Terms - If you have purchased a restricted ticket, depending on the rules applicable to the fare paid, one or more
  restrictions including, but not limited to, the following may apply to your travel: (1) the ticket may not be refundable but can be
  exchanged for a fee for another restricted fare ticket meeting all the rules/restrictions of the original ticket (including the payment of any
  difference in fares); (2) a fee may apply for changing/canceling reservations; or (3) select tickets may not be eligible for refunds or
  changes even for a fee; (4) select tickets have no residual value and cannot be applied towards the purchase of future travel; or (5)
  travel may be restricted to specific flights and/ or times and a minimum and/or maximum stay may be required. United reserves the right
  to refuse carriage to any person who has acquired a ticket in violation of any United tariffs, rules, or regulations, or in violation of any
  applicable national, federal, state, or local law, order, regulation, or ordinance. Notwithstanding the foregoing, you are entitled to a full
  refund if you cancel a ticket purchased at least a week prior to departure within 24 hours of purchase.
https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                                5/6
2/25/22, 2:48Case
              PM    21-30589-MBK            Doc 2965-1 Filed 09/01/22           Entered 09/01/22 12:47:14
                                                                Mail - ctisi@levinlaw.com                                        Desc
                                           Exhibit A-expense receipts Page 68 of 105
  Notice of Boarding Times - For Domestic flights, customers must be at the boarding gate at least 15 minutes prior to scheduled
  departure. For International flights, customers must be at the boarding gate at least 30 minutes prior to scheduled departure. The time
  limits provided by United in this Notice are minimum time requirements. Customer and baggage processing times may differ from
  airport to airport. Please visit united.com for information regarding airport-specific boarding times. It is the customer's responsibility to
  arrive at the airport with enough time to complete check-in, baggage, and security screening processes within these minimum time
  limits. Please be sure to check flight information monitors for the correct boarding gate and the departure time of your flight. Failure to
  be at the boarding gate by the required time could result in the loss of your seat without compensation, regardless of whether you are
  already checked in or have a confirmed seat and boarding pass.


  ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATIONS OF LIABILITY - Passengers
  embarking upon a journey involving an ultimate destination or a stop in a country other than the
  country of departure are advised that the provisions of an international treaty (the Warsaw
  Convention, the 1999 Montreal Convention, or other treaty), as well as a carrier's own contract of
  carriage or tariff provisions, may be applicable to their entire journey, including any portion entirely
  within the countries of departure and destination. The applicable treaty governs and may limit the
  liability of carriers to passengers for death or personal injury, destruction or loss of, or damage to,
  baggage, and for delay of passengers and baggage
  Additional protection can usually be obtained by purchasing insurance from a private company. Such
  insurance is not affected by any limitation of the carrier's liability under an international treaty. For
  further information please consult your airline or insurance company representative.

  Notice - Overbooking of Flights - Airline flights may be overbooked, and there is a slight
  chance that a seat will not be available on a flight for which a person has a confirmed
  reservation. If the flight is overbooked, no one will be denied a seat until airline personnel
  first ask for volunteers willing to give up their reservation in exchange for compensation of
  the airline's choosing. If there are not enough volunteers, the airline will deny boarding to
  other persons in accordance with its particular boarding priority. With few exceptions,
  including failure to comply with the carrier's check-in deadlines, which are available upon
  request from the air carrier, persons, denied boarding involuntarily are entitled to
  compensation. The complete rules for the payment of compensation and each airline's
  boarding priorities are available at all airport ticket counters and boarding locations. Some
  airlines do not apply these consumer protections to travel from some foreign countries,
  although other consumer protections may be available. Check with your airline or your
  travel agent.


    United is a proud member of Star Alliance
Copyright © 2022 United Airlines, Inc. All Rights Reserved


E-mail Information
Please do not reply to this message using the "reply" address.
The information contained in this email is intended for the original recipient only.

View our Privacy Policy                     View our Legal Notices




https://us.exg7.exghost.com/owa/#path=/mail/search/rp                                                                                             6/6
               Case 21-30589-MBK                                    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                                                                              Desc
                                                                   Exhibit A-expense receipts Page 69 of 105



                                                                            PRINCETON MARRIOTT FORRESTAL                                                                                                     GUEST FOLIO


              3200              TISI/CHRIS                                                        121.00                02/19/22              15:06                                                  48667
           ROOM                    NAME                                                           RATE                    DEPART                TIME                                                 ACCT#
           GK                   PO BOX 1258                                                                             02/13/22              18:10
           TYPE                 WILSON WY 83014-1258                                                                      ARRIVE                TIME
              113
           ROOM                                                                                 VSXXXXXXXXXXXX5706                                                                                   MBV#:           189181642
                                   ADDRESS                                                        PAYMENT
           CLERK




        02/13               TR ROOM         3200, 1                                                                            144.00
        02/13               ROOM TAX        3200, 1                                                                              9.54
        02/13               OCC TAX         3200, 1                                                                              7.20
        02/13               MUNI TX         3200, 1                                                                              4.32
        02/14               TR ROOM         3200, 1                                                                            144.00
        02/14               ROOM TAX        3200, 1                                                                              9.54
        02/14               OCC TAX         3200, 1                                                                              7.20
        02/14               MUNI TX         3200, 1                                                                              4.32
        02/15               TR ROOM         3200, 1                                                                            144.00
        02/15               ROOM TAX        3200, 1                                                                              9.54
        02/15               OCC TAX         3200, 1                                                                              7.20
        02/15               MUNI TX         3200, 1                                                                              4.32
        02/16               TR ROOM         3200, 1                                                                            144.00
        02/16               ROOM TAX        3200, 1                                                                              9.54
        02/16               OCC TAX         3200, 1                                                                              7.20
        02/16               MUNI TX         3200, 1                                                                              4.32
        02/17               TR ROOM         3200, 1                                                                            144.00
        02/17               ROOM TAX        3200, 1                                                                              9.54
        02/17               OCC TAX         3200, 1                                                                              7.20
        02/17               MUNI TX         3200, 1                                                                              4.32
        02/18               TR ROOM         3200, 1                                                                            121.00
        02/18               ROOM TAX        3200, 1                                                                              8.02
        02/18               OCC TAX         3200, 1                                                                              6.05
        02/18               MUNI TX         3200, 1                                                                              3.63
        02/19               CCARD-VS                                                                                                                              964.00
                          PAYMENT RECEIVED BY: VISA                                       XXXXXXXXXXXX5706
                                                                                                        .00
        ======================================= EXP. REPORT SUMMARY ==============================================
        02/13     TR ROOM                                        144.00
                  ROOM TAX                                         9.54
                  OCC TAX                                          7.20
                  MUNI TX                                          4.32
        02/14     TR ROOM                                        144.00
                  ROOM TAX                                         9.54
                  OCC TAX                                          7.20
                  MUNI TX                                          4.32
        02/15     TR ROOM                                        144.00
                  ROOM TAX                                         9.54
                  OCC TAX                                          7.20
                  MUNI TX                                          4.32
        02/16     TR ROOM                                        144.00




                                                PRINCETON MARRIOTT FORRESTAL
                                                100 COLLEGE RD EAST
                                                PRINCETON NJ 08540
                                                609-452-7800



                                       Treat yourself to the comfort of Marriott Hotels in your home. Visit ShopMarriott.com.
This statement is your only receipt. You have agreed to pay in cash or by approved personal check or to authorize us to charge your credit card for all amounts charged to you. The amounts shown in the credit column opposite any credit card
entry in the reference column above will be charged to the credit card number set forth above. (The credit card company will bill in the usual manner.) If for any reason the credit card company does not make payment on this account, you will
owe us such amount. If you are direct billed, in the event payment is not made within 25 days after check-out, you will owe us interest from the check-out date on any unpaid amount at the rate of 1.5% per month (ANNUAL RATE 18%), or the
maximum allowed by law, plus the reasonable cost of collection, including attorney fees.

Signature X
               Case 21-30589-MBK                                    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                                                                                              Desc
                                                                   Exhibit A-expense receipts Page 70 of 105



                                                                            PRINCETON MARRIOTT FORRESTAL                                                                                                     GUEST FOLIO


              3200              TISI/CHRIS                                                        121.00                02/19/22              15:06                                                  48667
           ROOM                    NAME                                                           RATE                    DEPART                TIME                                                 ACCT#
           GK                   PO BOX 1258                                                                             02/13/22              18:10
           TYPE                 WILSON WY 83014-1258                                                                      ARRIVE                TIME
              113
           ROOM                                                                                 VSXXXXXXXXXXXX5706                                                                                   MBV#:           189181642
                                   ADDRESS                                                        PAYMENT
           CLERK




        ======================================= EXP. REPORT SUMMARY ==============================================
                  ROOM TAX                                         9.54
                  OCC TAX                                          7.20
                  MUNI TX                                          4.32
        02/17     TR ROOM                                        144.00
                  ROOM TAX                                         9.54
                  OCC TAX                                          7.20
                  MUNI TX                                          4.32
        02/18     TR ROOM                                        121.00
                  ROOM TAX                                         8.02
                  OCC TAX                                          6.05
                  MUNI TX                                          3.63




                                                              See our "Privacy & Cookie Statement" on Marriott.com




           Your Marriott Bonvoy points/miles earned on your eligible earnings will be credited to your account. Check your
           Marriott Bonvoy Account Statement for updated activity. See members.marriott.com for new Marriott Bonvoy
           benefits.



                                                PRINCETON MARRIOTT FORRESTAL
                                                100 COLLEGE RD EAST
                                                PRINCETON NJ 08540
                                                609-452-7800



                                       Treat yourself to the comfort of Marriott Hotels in your home. Visit ShopMarriott.com.
This statement is your only receipt. You have agreed to pay in cash or by approved personal check or to authorize us to charge your credit card for all amounts charged to you. The amounts shown in the credit column opposite any credit card
entry in the reference column above will be charged to the credit card number set forth above. (The credit card company will bill in the usual manner.) If for any reason the credit card company does not make payment on this account, you will
owe us such amount. If you are direct billed, in the event payment is not made within 25 days after check-out, you will owe us interest from the check-out date on any unpaid amount at the rate of 1.5% per month (ANNUAL RATE 18%), or the
maximum allowed by law, plus the reasonable cost of collection, including attorney fees.

Signature X
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 71 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 72 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 73 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 74 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 75 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 76 of 105
                       Case 21-30589-MBK           Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14              Desc
                                                           April 2022 LPR
                                                  Exhibit A-expense       LTL BNK Expenses
                                                                       receipts    Page 77 of 105


Name                   Role                                         Date Expense Details             Expense Cost
                       Representative of TCC   4/18/2022 through         Edition Lodging for
Christopher Tisi, Esq. Member                  4/20/2022                 Mediation                                     $1,018.12
                       Representative of TCC   4/18 to 4/20/2022 then    United Airlines Flight to
Christopher Tisi, Esq. Member                  4/25 to 4/30/2022         Mediation                                     $1,002.60


                                                                          Total                                        $2,020.72
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 78 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 79 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 80 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 81 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 82 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 83 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 84 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 85 of 105
           Case 21-30589-MBK           Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14                         Desc
                                      Exhibit A-expense receipts Page 86 of 105




  CHRIS TISI                                                                                   Room Number:        3006
  PO BOX 1258                                                                                  Arrival Date:       04-18-22
  WILSON WY 83014
                                                                                               Departure Date:     04-20-22
  United States
                                                                                               CRS Number:         80920815
                                                                                           Marriott Bonvoy No:     XXXXX1642


   INVOICE
   Folio No: 102047



Date           Description                                                                            Charges             Credits
04-18-22       Lobby                              Room# 3006 : CHECK# 20818                            93.12
04-18-22       Room Charge                                                                            385.00
04-18-22       State Sales Tax                                                                         34.17
04-18-22       Occupancy Tax                                                                               3.50
04-18-22       City Occupancy Tax                                                                      22.62
04-19-22       Room Charge                                                                            415.00
04-19-22       State Sales Tax                                                                         36.83
04-19-22       Occupancy Tax                                                                               3.50
04-19-22       City Occupancy Tax                                                                      24.38
04-20-22       Visa Card                          XXXXXXXXXXXX5706               XX/XX                                1,018.12

                                                             Total                                    1,018.12            1,018.12

                                                             Balance                                        0.00




                 Extraordinary style and signature feel. Bring EDITION home with you. Visit ShopEDITION.com




                           20 Times Square, 701 7th Avenue at West 47th Street, New York, New York 10036
                                           Telephone: (212) 398-7017 Fax: (212) 398-4747
                       Case 21-30589-MBK            Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14          Desc
                                                            May 2022 LPR
                                                   Exhibit A-expense     LTL BNK Expenses
                                                                       receipts   Page 87 of 105

Name                  Role                     Date                Expense Details                      Expense Cost

                       Representative of TCC   5/22/2022 through
Christopher Tisi, Esq. Member                  5/23/2022           United Airline Travel to Mediation            $667.10
                       Representative of TCC   5/8/2022 through
Christopher Tisi, Esq. Member                  5/13/2022           United Airline Travel to Mediation            $898.52
                       Representative of TCC   5/8/2022 through    Michelangelo Hotel Lodging for
Christopher Tisi, Esq. Member                  5/12/2022           Mediation                                    $1,638.31
                       Representative of TCC
Christopher Tisi, Esq. Member                  5/23/2022           Residence Inn Lodging for Hearing             $250.31

                       Representative of TCC 5/22/2022 through
Christopher Tisi, Esq. Member                5/23/2022             Uber receipts for Hearing Travel              $327.03

                                                                   Total                                        $3,781.27
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 88 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 89 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 90 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 91 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 92 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 93 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 94 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 95 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 96 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 97 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 98 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 99 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 100 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 101 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 102 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 103 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 104 of 105
Case 21-30589-MBK    Doc 2965-1 Filed 09/01/22 Entered 09/01/22 12:47:14   Desc
                    Exhibit A-expense receipts Page 105 of 105
